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     HC63ATI1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                S4 15 Cr. 867 RMB

5    MEHMET HAKAN ATILLA,

6                     Defendant.

7    ------------------------------x

8

9                                                  December 6, 2017
                                                   9:15 a.m.
10

11

12   Before:

13                          HON. RICHARD M. BERMAN,

14                                                 District Judge
                                                     and a jury
15

16

17                                 APPEARANCES

18   JOON H. KIM,
          United States Attorney for the
19        Southern District of New York
     MICHAEL D. LOCKARD,
20   SIDHARDHA KAMARAJU,
     DAVID W. DENTON, JR.,
21   DEAN C. SOVOLOS,
          Assistant United States Attorneys
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2              (APPEARANCES Continued)

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4
     HERRICK, FEINSTEIN LLP (NYC)
5         Attorneys for defendant Atilla
     BY: VICTOR J. ROCCO, Esq.
6         THOMAS ELLIOTT THORNHILL, Esq.
          - and -
7    FLEMING RUVOLDT, PLLC
     BY: CATHY ANN FLEMING, Esq.
8         ROBERT J. FETTWEIS, Esq.
          - and -
9    LAW OFFICES OF JOSHUA L. DRATEL, P.C.
     BY: JOSHUA LEWIS DRATEL, Esq.
10                    Of counsel

11

12   Also Present:
          JENNIFER McREYNOLDS, Special Agent FBI
13        MICHAEL CHANG-FRIEDEN, Paralegal Specialist USAO
          MS. ASIYE KAY, Turkish Interpreter
14        MS. SEYHAN SIRTALAN, Turkish Interpreter
          MR. M. TEKIN ESENDAL, Turkish Interpreter
15        MR. BULENT BULUT, Turkish Interpreter

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1              (At the sidebar)

2              THE COURT:    There is a small point I want to go over.

3    A couple of the jurors have asked if they could have some time

4    this week separately to review their notes, because there is a

5    lot to absorb.    So I was going to propose to them that they

6    could do it one of these days, we'll give them maybe an extra

7    half hour on a lunch break.      But I would instruct them that

8    they can't talk among themselves.       It is only for the purpose

9    of --

10             MR. KAMARAJU:    Right.

11             THE COURT:    -- reviewing their notes.

12             MS. FLEMING:    That's new.

13             MR. KAMARAJU:    I think that's okay, but can we just

14   think about it and revisit it at lunch?

15             THE COURT:    Sure.

16             (In open court)

17             MR. KAMARAJU:    Your Honor, we had spoken yesterday

18   about transcripts that the defense wanted to put up for the

19   jury.   We're fine with showing those to the jury and having

20   them being offered subject to connection for when they put on

21   their translator, subject to our right to put in a competing

22   transcript if we think there is a problem.

23             THE COURT:    Fine.

24             (Jury present)

25             THE COURT:    We're going to pick up with the


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     HC63ATI1                    Zarrab - Cross

1    cross-examination of Mr. Zarrab by Ms. Fleming.

2               THE DEPUTY CLERK:    Sir, before we begin, I'd like to

3    remind you that you're still under oath.

4               THE WITNESS:   Yes, ma'am.

5               THE DEPUTY CLERK:    Thank you.

6               MS. FLEMING:   Thank you, your Honor.      May I proceed?

7               THE COURT:   Yes.

8     REZA ZARRAB,

9    CROSS-EXAMINATION

10   BY MS. FLEMING:

11   Q.   Good morning, Mr. Zarrab.

12   A.   Good morning, ma'am.

13   Q.   Mr. Zarrab, you were arrested in Miami in March of 2016,

14   correct?

15   A.   That is correct, ma'am.

16   Q.   Mr. Atilla was arrested a year, approximately a year later

17   in March of 2017; do you recall that?

18   A.   I don't recall the exact date, but I remember that it was

19   long after I was arrested, ma'am.

20   Q.   You were shocked that he was arrested, weren't you, sir?

21   A.   Yes, that is correct.

22   Q.   You told people that you were shocked he was arrested at

23   the time, correct?

24   A.   Yes, that is correct, ma'am.

25              MS. FLEMING:   May I ask the government, did you put


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     HC63ATI1                    Zarrab - Cross

1    3655-T into evidence?

2              MR. KAMARAJU:    I don't think so.

3              MS. FLEMING:    Can we pull up 3655, please, just for

4    Mr. Zarrab and not for the jury yet.

5    Q.   Mr. Zarrab, do you recognize the names that are here in the

6    "to" and "from" line?

7    A.   Yes, I recognize them, ma'am.

8    Q.   Is the person who works at Royal one of your employees,

9    Umut, the first person in the "from" line, is that an employee

10   of yours at Royal?

11   A.   Yes, he was one of the employees that worked for me as a

12   member of the personnel during that time frame, ma'am.

13   Q.   Do you recognize Exhibit 3655 as an e-mail to you?

14   A.   Yes, ma'am.

15             MS. FLEMING:    Would you turn to the next page and then

16   the third page for Mr. Zarrab.

17   Q.   Do you recognize 3655 as being a record that you keep in

18   the ordinary course of your business?

19   A.   These are the bits of information about the companies that

20   I own.

21             MS. FLEMING:    Your Honor, I would move 3655 into

22   evidence.

23             THE COURT:    What is it?    Is it a document?

24             MS. FLEMING:    Yes, a document.     It is an e-mail with

25   an attachment.


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     HC63ATI1                    Zarrab - Cross

1              MR. KAMARAJU:    No objection.

2              THE COURT:    I'll allow it.

3              (Government's Exhibit 3655 received in evidence)

4              MS. FLEMING:    Can we please put it on the screen for

5    the jury.

6    Q.   Looking at these pages, these show the dates of

7    establishment of a number of your companies; is that correct,

8    Mr. Zarrab?

9    A.   That is correct, ma'am.

10   Q.   So Royal Holding Incorporated was established as of

11   December 27, 2010; is that correct?

12   A.   I mean, I don't recall the exact date.        But based on this

13   document here, that's what it looks like.

14   Q.   And Government Exhibit 3655 shows us on page three, the

15   second one up on the screen, that Safir Gold Trade was

16   established on April 10, 2012, doesn't it, sir?

17   A.   Based on the document that is shown here, it shows that it

18   was 4/10/2012.    But I don't recall the exact date of

19   establishment.

20   Q.   You are the one who established those companies, correct?

21   A.   Companies are established by accountants in Turkey, but

22   these companies were established under my name.

23   Q.   They were established at your direction, correct, sir?

24   A.   That is absolutely correct.

25   Q.   Thank you.


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     HC63ATI1                    Zarrab - Cross

1               MS. FLEMING:    Can we pull up Government Exhibit 3799

2    which I believe is in evidence.       Could we show the second page

3    of this.

4    Q.   Going back to the first page of Government Exhibit 3799,

5    you identified this as an e-mail that you recognized that you

6    had sent to Mr. Atilla at Halkbank.        Do you remember testifying

7    to that, sir?

8    A.   Yes, ma'am, that's correct.

9    Q.   Did Mr. Atilla reply?

10   A.   I don't recall, ma'am.

11   Q.   Have you seen in all of the discovery or in any of the

12   documents in preparation for trial, out of all the documents

13   that you've seen from your e-mails, have you seen a reply from

14   Mr. Atilla?

15   A.   I did not see all of the e-mails that I may have received,

16   and I did not see all the documents in discovery.          And to the

17   best of my recollection, I don't remember seeing a reply to

18   this e-mail right here, ma'am.

19   Q.   Thank you.

20              MS. FLEMING:    You can take that down.

21              Your Honor, may I approach, and with the government's

22   permission, I'd like to use their blackboard with all the

23   photos on it for a moment.

24              THE COURT:   Sure.

25              MR. KAMARAJU:    Of course.


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     HC63ATI1                    Zarrab - Cross

1    Q.   Mr. Zarrab, are you able to see this, the blackboard with

2    all the photographs on it?

3    A.   I don't see all of them, but I see them partially, yes.

4    Q.   Let me turn it a little bit.      Is that better?

5    A.   Yes, ma'am.

6    Q.   Now, do you recognize Mr. Ghasemi?

7    A.   It is true that I saw Mr. Ghasemi at a meeting in Turkey

8    once, so I know him from that; that is correct, ma'am.

9    Q.   So you have met him once, Mr. Ghasemi?

10   A.   Yes, ma'am, that is correct.

11   Q.   Mr. Mahmoud Bahmani.     Am I saying that correctly?

12   A.   Since I don't know him, I don't know the pronunciation of

13   his name that well either.      But I don't know him.

14   Q.   And you've never met Mr. Bahmani; is that correct?

15   A.   I did meet with Dr. Bahmani of the Central Bank, but the

16   picture that is shown here looks different than Dr. Bahmani

17   that I know, and it could happen in pictures it might look

18   different.

19   Q.   But you don't recognize this photograph as being the person

20   you know as Mr. Bahmani?

21   A.   I mean, I've met with Dr. Bahmani once at the Central Bank

22   in Iran.   But when I look at this picture of him, I just don't

23   recall the person that I had met.

24   Q.   You met him at the Central Bank of Iran?

25   A.   Yes, ma'am, we met at a meeting at the Central Bank in Iran


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     HC63ATI1                    Zarrab - Cross

1    where my father was also present.

2    Q.   This fellow, Mr. Hashem Pouransari, do you see that

3    photograph?

4    A.   I see the picture, I see him, ma'am.

5    Q.   Do you know him?

6    A.   I don't recall, ma'am.

7    Q.   So you don't know if you've ever met him either, correct?

8    A.   I don't recall, ma'am.

9    Q.   Mr. Seifollah Jashnsaz, have you ever met him?

10   A.   Yes, with Mr. Seifollah Jashnsaz, I have met with him a few

11   times and I have met with him in person, so I have.

12   Q.   Have you ever met Mr. Ali Khamenei, the Supreme Leader of

13   Iran?

14   A.   I have never met with the Ali Khamenei here who is

15   described as the Supreme Leader of Iran.

16   Q.   Have you ever met with Mahmoud Ahmadinejad, who is the

17   former president of Iran?

18   A.   I have never met with Mr. Ahmadinejad either, ma'am.

19   Q.   Thank you.

20             MS. FLEMING:    We'll take this down.

21   Q.   I would just like to clear something up from yesterday.        I

22   asked you questions about the Al Nafees Exchange having been

23   sanctioned by OFAC.     Do you remember those questions?

24   A.   Yes, ma'am, you had asked questions about Al Nafees

25   yesterday, that's correct.


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     HC63ATI1                   Zarrab - Cross

1    Q.   You told us yesterday that Al Nafees had never paid a fine

2    for sanctions, correct?

3    A.   I don't recall any fines that may have been paid by Al

4    Nafees in a sanctions-related issue until I was arrested.           If

5    such a fine had been paid after I was arrested, I don't know

6    about that.

7    Q.   You do recall that sanctions were assessed against Al

8    Nafees before you were arrested, don't you, sir?

9    A.   Yes, it is correct that I had received information that

10   indicated Al Nafees had received a warning with regards to

11   OFAC.

12   Q.   More than a warning, they had in fact been assessed a

13   penalty by OFAC; do you remember that?

14   A.   I had information that OFAC had assessed a fine against

15   them.   I know that too.    That's correct, ma'am.

16   Q.   When we left off yesterday, we were talking about

17   Mr. Balkan.

18             MS. FLEMING:    Your Honor, I think we're organized with

19   recordings today.

20   Q.   So just to put you back as to where we are.

21             THE COURT:    Me or him?

22             MS. FLEMING:    Mr. Zarrab.    Your Honor, I would never

23   put you back where we are.      Only the witness.

24             THE COURT:    I don't want to be there either.

25             MS. FLEMING:    I know better.


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     HC63ATI1                   Zarrab - Cross

1    Q.   Mr. Zarrab, just to remind you, you had testified about a

2    meeting on October 4 at Halkbank, correct?

3    A.   I did talk about a meeting within the month of October.          I

4    don't remember the exact date now.

5    Q.   You identified that there were a number of people from

6    Halkbank who were present, correct?

7    A.   That is correct, ma'am.

8    Q.   You testified that it was Suleyman Aslan and Mr. Atilla,

9    correct?

10   A.   In the meeting that was held along with the Iranians;

11   that's correct, ma'am.

12   Q.   You did not say that Mr. Levent Balkan was there, did you,

13   sir?

14   A.   That is correct, ma'am.

15              MS. FLEMING:    Your Honor, I'd like to bring up 1 and

16   1-T.   I believe we have an agreement that these are in subject

17   to authentication of the translations on the first page.            So we

18   can put them right in front of the jury and play -- excuse me.

19   Defense Exhibit 1, and put up 1-T for the jury.

20              MR. KAMARAJU:    Yes, your Honor, subject to connection.

21              THE COURT:   Okay.

22              MS. FLEMING:    So bring up 1-T first, please.

23              Excuse me, your Honor.     Go to page two please, I'm

24   sorry.   Now can you play the recording, please.

25              I'm sorry, your Honor.


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     HC63ATI1                   Zarrab - Cross

1              THE COURT:    That's all right.

2              (Audio recording playing)

3    Q.   Mr. Zarrab, do you recognize the voices on this call?

4    A.   Yes, ma'am, I recognize them.

5    Q.   Who are they?

6    A.   It's Mr. Suleyman Aslan and myself, ma'am.

7    Q.   This is a phone conversation that took place within a day

8    or so after the meeting you have described at which

9    Mr. Suleyman and Mr. Atilla was at Halkbank?

10   A.   I don't remember the exact dates but it is after that,

11   ma'am; that's correct.

12   Q.   You were meeting with Mr. Suleyman at his old office in

13   Gayrettepe, correct?

14   A.   That is correct, ma'am.

15   Q.   That was not the current headquarters of Halkbank in

16   Istanbul, was it?

17   A.   No, ma'am, that was not the current headquarters.         They had

18   moved already.

19   Q.   You've never been to Mr. Atilla's office, have you?

20   A.   I don't remember ever going into Mr. Hakan's office at the

21   bank, ma'am.

22   Q.   Do you know even what floor Mr. Atilla's office is on at

23   the headquarters of Halkbank?

24   A.   The Halkbank headquarters is a highrise, it has many

25   floors, and I don't know which floor Mr. Hakan's office might


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     HC63ATI1                   Zarrab - Cross

1    have been.

2    Q.   At the headquarter building, not this building where you're

3    meeting Mr. Aslan in this conversation, Mr. Aslan's office was

4    on the first floor of the headquarter building, correct?

5    A.   Which headquarters again, ma'am?

6    Q.   The headquarters of Halkbank, the new one, not the

7    Gayrettepe, if I'm saying it right.

8    A.   No, that is not correct, ma'am.      Mr. Suleyman had two

9    offices.    One was at an upper level, one was at a lower level.

10   Q.   When you say lower level, that was the ground floor of the

11   bank when you come in?

12   A.   Yes, one of them was at the entry level to the building,

13   ma'am.

14   Q.   Did you ever go to his upper floor office?

15   A.   Certainly I have, ma'am.

16   Q.   What floor was it on?

17   A.   When you visit Halkbank, they have a different system when

18   you get into the building.      So you're greeted by security

19   individuals, and they go into the elevator, they use their

20   cards, they take you upstairs, and they take you over to the

21   office you're supposed to be visiting.        And as far as where

22   Mr. Suleyman's office may have been, I don't remember the floor

23   that he may have been at.

24              MS. FLEMING:   Could we pull up, please, what's in

25   evidence as Government Exhibit 209.       Second page, please.      We


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     HC63ATI1                   Zarrab - Cross

1    don't need to play this one.      We've played it.

2    Q.   Directing your attention, please, to the first several

3    lines of the translation for 209.       This is within several days

4    of your meeting with Mr. Aslan that we just looked at where you

5    met him in the old office, correct?

6    A.   I don't recall the exact date, but this is a conversation

7    that occurred after the meeting that I had with Mr. Suleyman at

8    his offices in Gayrettepe.

9    Q.   You're telling Mr. Happani "We will send two to Levent's

10   boss on Monday," correct?

11   A.   That is absolutely correct, ma'am.

12             MS. FLEMING:    Can we pull up 211-T which is in

13   evidence, please.    Page two.

14   Q.   This is another conversation between you and Levent Balkan

15   in October of 2012; isn't it, Mr. Zarrab?

16   A.   The date that is shown on this document reads October 24,

17   2012.   I don't recall the date exactly myself.

18   Q.   During this time period you recall, do you not, that you

19   were dealing with Levent Balkan with regard to matters

20   involving the bank?

21   A.   During this time frame, I do recall that I had conversed

22   with and met with Mr. Levent Balkan on matters related to

23   transactions, ma'am; that is correct.

24             MS. FLEMING:    Can we pull up, please, and play 11-T.

25   Defense Exhibit 11-T which we've agreed will go in subject to


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     HC63ATI1                   Zarrab - Cross

1    connection, your Honor.     Go to page two, please.

2    Q.   This is a conversation between you and Ruchan Bayar; isn't

3    that correct, sir?

4              MS. FLEMING:    Can we play the recording please.

5              (Audio recording playing)

6    Q.   This conversation takes place approximately a year later,

7    in October of 2013, correct?

8    A.   The date that is shown on this document here is October 17,

9    2013, ma'am, so that is correct.

10   Q.   Levent Balkan has been gone from Halkbank for months at

11   this point, hasn't he?

12   A.   Though the exact date is unknown, based on this

13   conversation, it is understood that he had left a long time

14   before this conversation; that is correct, ma'am.

15   Q.   And you're still discussing what his role had been with

16   regard to you and your business at Halkbank, correct?

17   A.   It would not be correct to say that we are talking

18   specifically about my business with regards to Levent Balkan,

19   but we are talking about Levant Balkan's involvement with

20   Iranian trade in general.      That's what it is, ma'am.

21             MS. FLEMING:    Can we show Government Exhibit 273-T.

22   273 is in evidence?     Page two, please.     This is in evidence,

23   right?

24             MR. KAMARAJU:    Yes.

25             MS. FLEMING:    Can we play Government Exhibit 273,


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     HC63ATI1                   Zarrab - Cross

1    please.

2    Q.   Just before we play it, this is a conversation between you

3    and Mehtap who works at Halkbank, correct?

4    A.   That is correct, ma'am.

5    Q.   This is back, we're going back now to November 2012?

6    A.   I don't recall the exact date of the conversation, ma'am,

7    but the document here shows that the conversations had occurred

8    on November 12, 2012.

9    Q.   And Mehtap is a person, a woman who works in the

10   operations, foreign operations department at Halkbank, correct?

11   A.   It would not be correct for me to say that Ms. Mehtap

12   worked at a certain place.      I can't say her title.     I don't

13   know it.    But I can say that she was an employee of the

14   Halkbank at that time, ma'am.

15              MS. FLEMING:   Can we play the recording, please.        273,

16   Government Exhibit.

17              (Audio recording playing)

18              (Continued on next page)

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     HC6PATI2                   Zarrab - Cross

1    Q.   Mr. Zarrab, your companies were good-sized clients for

2    Halkbank, correct?

3    A.   You mean that I was a good customer, big customer for them?

4    Is that what you mean?

5    Q.   Yes.

6    A.   Yes, I would guess so, based on the commissions that were

7    paid.

8    Q.   And the employees treated you with respect, didn't they?

9    A.   Halkbank personnel, the employees, always treated me with

10   respect in every aspect, as it's also heard in these phone

11   conversations, and I also, likewise, always treated them with

12   respect as well.

13   Q.   And it's true that even when they were nagging you for

14   documents, they treated you with respect, correct?

15   A.   Just as I said earlier, there was never a time where we

16   faced any disrespect from the employees there, and likewise, I

17   have never shown any lack of respect to them either.

18   Q.   And if we could move back to page 4, here, please.

19   Ms. Mehtap is telling you that there's been a change in the

20   OFAC regulations, correct?

21   A.   Yes; that is correct, ma'am.

22   Q.   And she is telling you that if you knowingly conduct

23   transactions that have known direct or indirect association to

24   the Iranian government, it's a problem, correct?

25   A.   That is correct, ma'am.


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     HC6PATI2                   Zarrab - Cross

1    Q.   And you say to her:    "We don't have any transactions like

2    that anyway," correct?

3    A.   Of course that's what I was going to say.        That's correct,

4    ma'am.

5    Q.   So you lied to her?

6    A.   Since Ms. Mehtap did not know all the aspects and all the

7    details about the business that we conduct, of course I did lie

8    to her, ma'am.

9    Q.   So you lied to the Halkbank employees who didn't know all

10   the aspects and all the details of the business you conducted,

11   correct?

12   A.   I have never briefed Halkbank employees on what business we

13   run, what it was and what trade it was.        Those that knew were

14   only at the higher levels, and the lower ranks never knew what

15   we were doing.

16   Q.   So you lied to the people at Halkbank that didn't know all

17   of the transactions as you just described it; is that what

18   you're telling the Court?

19   A.   Whenever I received a call from a support employee at

20   Halkbank, a lower-ranked employee at Halkbank, about our trade,

21   of course I did not go into the detail about this was a

22   transaction related to NIOC of Iran.

23              And there's one thing that I want to emphasize.          In

24   fact, on the phones we never spoke openly anyway.         However,

25   Ms. Mehtap had absolutely no information, and I should mention


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1    it.

2    Q.    You lied to her, correct?

3    A.    That is absolutely correct, ma'am.

4    Q.    And you lied to other employees of Halkbank, correct?

5    A.    To those employees that did not know.      Whenever they asked

6    questions, I did lie; that is correct, ma'am.

7    Q.    And you told us that you lied to Hakkan Aydogan on an

8    April 10th call yesterday, correct?

9    A.    That is correct, ma'am.    In that conversation with Hakkan

10   Aydogan, I am not having a conversation with him about the

11   nature of this business.

12   Q.    All right.   Could we bring up, please, Government

13   Exhibit 215 and put -- and display 215-T to the jury.

14              This is a conversation between you and Mr. Balkan in

15   November 2012, correct?

16              THE COURT:   Do you want page 2?

17              MS. FLEMING:   Page 2.

18   A.    I, myself, don't remember what the exact date of the

19   conversation was, but on this document that is shown here, the

20   date shows up as November 15th, 2012; that is correct, ma'am.

21   Q.    And it's between you and Mr. Balkan?

22   A.    That is correct, ma'am.    This is a conversation between

23   myself and Mr. Levent Balkan.       It's a transcript of it.

24              MS. FLEMING:   Would you please play 215, Government

25   Exhibit 215.


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1              (Audiotape played)

2    Q.   Now, if I can direct your attention to page 3, you just

3    said a minute ago that you were careful about not talking about

4    things on the phone, correct?

5    A.   To not mention things very openly.       In fact, if it were to

6    be completely closed off, then we would not have any of these

7    conversation transcripts anyway.

8    Q.   Well, you talked about it a lot because we have a lot of

9    these phone calls, don't we?

10   A.   Yes, ma'am.   It's true that there are many phone

11   transcripts.

12   Q.   And here, you say:    "Okay.   Let's talk about that face to

13   face."   Do you see that?

14   A.   Yes, ma'am; I see that.

15   Q.   There are no such phrases in any of your conversations with

16   Mr. Atilla, are there?

17   A.   To the best of my recollection, in all the conversations

18   that I listened to so far, I don't recall that, ma'am.

19   Q.   In the four telephone conversations we had, with you and

20   Mr. Atilla, never once does he say, let's go talk about that

21   not on this phone, does he, sir?

22   A.   I don't know how many conversations there might have

23   between myself and Mr. Atilla, but within those that I had

24   heard so far, either at the trial here or prior to, I don't

25   recall him ever uttering those words, no.


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1    Q.   And the next two lines on page 3, Mr. Balkan says:         "If

2    necessary, we can get Mr. Suleyman as well;" do you see that?

3    A.   Yes, ma'am; I see that.

4    Q.   He doesn't say, let's get Mr. Atilla, does he?

5    A.   No, ma'am.   He's not saying let's get Mr. Atilla either.

6               MS. FLEMING:   Could we bring up Government

7    Exhibit 217, which I think is in evidence.        Let me confirm it.

8    This hasn't been played.     The government has graciously agreed

9    we can play it.

10              THE COURT:   It has not been played before?

11              MS. FLEMING:   Can we bring up 217-T, and then -- I'm

12   sorry, it's 219, 219.

13              THE COURT:   Has it not been played yet?

14              MS. FLEMING:   It's 219.

15              THE COURT:   It has not been played before?

16   Q.   And, Mr. Riza, this is a call, after an unidentified

17   female, between you and Mr. Balkan again in December 2012,

18   correct?

19   A.   That is correct, ma'am.

20              (Audiotape played)

21   Q.   If I can direct your attention to the bottom of page 4, do

22   you see that Mr. Balkan says:      "I'll do it that way.      I'll go

23   ahead and give the approval, then"?

24   A.   Yes, I see that, ma'am.

25   Q.   And you knew that Levent Balkan, in his position at


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1    Halkbank, had the authority to approve transactions such as you

2    were discussing, correct?

3    A.   I know that Mr. Levent Balkan has decision-making

4    authority, but what I don't know is whether he goes back and

5    talks or receives approval from somebody else within the bank

6    for decisions that he's making.

7    Q.   Is there a reason that -- withdrawn.

8              But when he says:     "I'll go ahead and give the

9    approval, then," he's not saying I'll go up the chain and get

10   approval, is he?

11   A.   Of course he's not, and I didn't say that he was either

12   anyway.

13   Q.   And you don't know -- withdraw it.

14             His direct report was Mr. Suleyman, wasn't it?

15   A.   I don't know that, ma'am.

16   Q.   You knew he was the head of the foreign operations

17   department, Mr. Balkan?

18   A.   I don't know his exact job title, but I know that during

19   that time frame, he was one of the individuals, important

20   individuals that was involved in Iranian transactions at the

21   bank, ma'am.

22   Q.   Now, we've heard a lot about the Iranian transactions.

23   Your companies also had legitimate business, correct?          You had

24   real estate businesses and furniture businesses and other

25   businesses, correct?


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1    A.   Yes, ma'am; that is correct, that they existed.

2    Q.   Sorry, I keep interrupting.      I do apologize.    I think I'm

3    starting to understand Turkish.

4               And, in fact, you kept your accounts for those

5    legitimate businesses and transactions at Halkbank as well,

6    correct?

7    A.   That is partially correct, ma'am.

8    Q.   You had some of them there, correct?

9    A.   That is correct, ma'am.

10   Q.   You had other accounts even in other countries, Dubai and

11   other places where you did business, correct?

12   A.   With regards to money transfers, I did have accounts in

13   many places, but as far as my furniture business, my maritime

14   business or my construction business, all those accounts were

15   within the boundaries of the country of Turkey.

16   Q.   And you were married to a very famous pop star in Turkey,

17   correct?

18   A.   That is correct, ma'am.

19   Q.   She's well known throughout Turkey, correct?

20   A.   That is correct, ma'am.

21   Q.   And the two of you were very frequently in celebrity pages

22   of magazines and the newspapers, correct?

23   A.   That we were on there may not be very correct to say, but

24   there were many bits of news that were published about us in

25   the newspapers and magazines; that is correct, ma'am.


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1    Q.   And there were pictures of you with your lovely homes,

2    correct?

3    A.   That is correct, ma'am.     The pictures that would have been

4    taken by the media of my home may have been published.

5    Q.   And there were pictures of you and your wife on yachts that

6    you built or owned, correct?

7    A.   It is true that there were pictures of me and my wife, my

8    family on the yacht that I had owned, and these were pictures

9    that were taken secretly by media, and they were published as

10   such; that is correct, ma'am.

11   Q.   And when you bought your wife a large ring for your

12   marriage, that was well publicized, correct?

13   A.   Since about 99 percent of the news that were published in

14   the media about us and what I may have given to my wife were

15   all bogus and false news, I don't know which one you might be

16   referring to here.     But it is true that the media published a

17   lot of news about us.

18   Q.   And you were a celebrity in Turkey during this time period,

19   2012, 2013, correct?

20   A.   Since I was married to a famous person, that is true that I

21   was very visible.

22              MS. FLEMING:   Could we please put up 221-T and -- just

23   give me a minute.

24              (Pause)

25              I have the gracious ascent of the government to play


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1    221-T.

2    Q.   Page 2, please.    And this is a conversation on

3    December 25th, 2012, between yourself and ultimately Levent

4    Balkan; is that correct?

5    A.   I don't recall the exact date of my conversation with

6    Mr. Balkan, but what's shown on this document as the date of

7    the conversation is December 25th, 2012, ma'am.

8    Q.   Thank you.

9               MS. FLEMING:   Could you play it, please.

10              (Audiotape played)

11   Q.   Now, directing your attention to page 3, Mr. Balkan is

12   telling you that his colleague is requesting an invoice and a

13   declaration; do you see that?

14   A.   That is correct.     I see that.

15   Q.   And do you understand that that is a colleague from

16   Halkbank looking for documents for a gold transaction?

17   A.   That is what is understood from the phone conversation;

18   that is correct, ma'am.

19   Q.   Do you remember this conversation?

20   A.   I remember, ma'am; that's correct.

21   Q.   Up at the top of page 3, Mr. Balkan is saying:        "Did you

22   ask for that, the partnership structure;" do you see that?          And

23   you respond:    "Brother, they asked for Dinar Co.'s," right?

24   A.   No.   I'd like to correct this area here.       It may not have

25   been understood correctly by madam here.        I presume, in this


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1    phone conversation, that what Levent Balkan was asking me to

2    submit was the documentation for Dinar Co.        I presumed in the

3    conversation that he had asked for the partnership structure of

4    Dinar Co. and then the conversation goes into Balkan saying,

5    no, the colleagues are asking for an invoice, bill of lading

6    and declaration, and that's what we talk about then.

7    Q.   And you say -- withdrawn.

8               The partnership structure is because Halkbank requires

9    documents to show who the partnership or shareholders are of a

10   company in Iran, to be sure that it is not government related,

11   correct?

12   A.   As I had mentioned before, among the documents that

13   Halkbank required, this document about partnership structure,

14   showing the Iranian companies did not have relations with the

15   Iranian government, was among these documents also; so that is

16   correct.

17   Q.   And then a little farther down, you say:        "I didn't call.

18   You know, it comes every day."      Do you see that, in the middle

19   of page 3?    Are you speaking to Mr. Balkan, or are you speaking

20   to somebody away from the phone?

21   A.   I'm saying to someone else, ma'am.

22              MS. FLEMING:   Could we pull up, please, Government

23   Exhibit 225 and T.     And I would ask that we play 225.

24   Q.   Before we do, this is a conversation in January 2013

25   between yourself and, ultimately, Mr. Balkan, correct?


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1    A.   I don't recall the exact date of the conversation, but what

2    is shown on this document as the date of the conversation is

3    January 21st, 2013, and the parties in this conversation are

4    myself, Ms. Neslihan from Halkbank, and Mr. Levent Balkan,

5    ma'am.

6              MS. FLEMING:    Can we play it, please.

7              (Pause)

8              THE COURT:    Ms. Fleming, we're going to take a

9    two-minute break.    So we'll excuse the jury.

10             (Jury not present)

11             THE COURT:    Thanks.

12             MS. FLEMING:    No, thank you, Judge.

13             (Recess)

14             (Continued on next page)

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1               (In open court; jury present)

2               THE COURT:   We'll continue with the cross-examination.

3               THE DEPUTY CLERK:    Sir, again I'd like to remind you,

4    you're still under oath.

5               THE WITNESS:   Yes, ma'am.

6               MS. FLEMING:   Thank you, Judge Berman.      May I proceed?

7               THE COURT:   Yes.

8    BY MS. FLEMING:

9    Q.   I believe we were just about to play Exhibit 225.

10              (Audio recording playing)

11   Q.   I'd like to direct your attention to the middle of page two

12   on, and you told Mr. Levent, "I wish we at least we had the

13   opportunity to say good-bye to Mr. Levent, we should have

14   thanked him for treating us well and valuing us all this time."

15   Correct?

16   A.   Yes, I see that, ma'am.

17   Q.   You were being very gracious and telling him how much you

18   appreciated him, correct?

19   A.   I appreciate graciously everybody that worked at Halkbank,

20   ma'am.

21   Q.   The call we played earlier, Defendant's Exhibit 11 and

22   11-T, which took place in October 2013, you told Ruchan Bayar

23   that you had caused him to be fired from Halkbank; do you

24   remember that conversation?

25   A.   Yes, that's correct, ma'am, I remember that.


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1    Q.   Were you lying to Mr. Ruchan Bayar about having him fired

2    at Halkbank?

3    A.   There were some times -- some periods of time that

4    Mr. Levant Balkan was getting into our company account,

5    including getting our company account statements, and also

6    sharing secrets of our -- about our trade, the trade that we

7    were conducting.    And as he was doing these things, I reported

8    this to Halkbank general manager at that time.         And the

9    conclusion that was reached was what Halkbank had decided to on

10   its own.    And if we can emphasize the fact that what he was

11   relaying, he was relaying these to our competitors.

12   Q.   And you knew that at the time that you told Mr. Balkan you

13   wanted to thank him for treating you so well; is that correct?

14   A.   There are two separate issues at hand here.        One is that

15   what Mr. Levant Balkan had done for us throughout his tenure at

16   the bank was most appreciated.      But the fact that he conveyed

17   information to our competitors such as our account statements

18   and our trade secrets, that does not mean that all the work

19   that he has provided for us should be erased all together.          So

20   he had provided much assistance to us during our Iranian trade

21   business, and these are two separate issues.

22   Q.   But as you are here testifying today, it's your belief that

23   you are part of the reason that he was -- withdrawn.

24              You believe he was fired from Halkbank; is that your

25   belief?


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1    A.   I don't know whether Mr. Levant Balkan was fired or if he

2    had separated from his job at the bank.        This is completely

3    something that was done internally within the bank, and I don't

4    know what had happened.

5               MS. FLEMING:   Can we pull up, please, what's in

6    evidence as Government Exhibit 6043.       Page two, please.

7    Q.   You identified on direct examination these as being a

8    series of business cards that had been sent to you on or about

9    October 12.

10              MS. FLEMING:   Can we go to the prior page please.

11   Q.   2012.   Do you see that?

12   A.   That is not correct, ma'am.      There might be perhaps a

13   misrecollection or maybe misunderstanding there.

14   Q.   You were not sent this, you were not sent a copy of these

15   business cards by this e-mail on October 12, 2012?

16   A.   I'm wondering if madam is talking about a different piece

17   of evidence.    I wonder if it is possible that the exhibits got

18   mixed up.    This is one that was sent out from Royal Maritime,

19   it's not one that was received by Royal Maritime.

20   Q.   So you're not even on this e-mail, correct?

21   A.   No.   What I'm trying to say here, what I'm trying to

22   clarify here is the e-mail was from the Info@Royalcraft

23   address, and what madam had said was this was received by me,

24   I'm trying to clarify that's not the case.

25   Q.   Thank you for the correction.      Did you personally send this


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1    e-mail?

2    A.    No, ma'am.   I don't recall sending this.      The

3    Info@Royalcraft address was not used personally by me.

4    Q.    If we can go back to page two, please.      You identified that

5    you recognized the business cards of I believe you said three

6    people here.    Mr. Atilla's, Mr. Aslan's, and I believe you said

7    the fellow from Turkish Petroleum International Company.            Am I

8    correct?

9    A.    That is correct, ma'am.

10   Q.    You do not even know who the other people are that are

11   contained on page two of the e-mail that is Government Exhibit

12   6043 that comes from your company but not from you, correct?

13   A.    What I'm stating is that I don't recall them, ma'am.

14              MS. FLEMING:   Can I ask that we put up 2-T, I think we

15   have an agreement that this goes in.       Go to page two, please.

16   Q.    Could you explain to us who the other caller to this call

17   is?

18   A.    Nesteren Zarei Deniz.

19   Q.    Who is that?

20   A.    Nesteren Deniz Zarei is a woman.

21   Q.    Where does she work?

22   A.    She has her own company, she works independently on her

23   own.

24   Q.    What kind of business does she have?

25   A.    She brokers Iranian trade as well.      In other words, she's a


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1    commissioned person, a person that receives commissions in the

2    middle of the trade.

3    Q.   At this time, in 2013, did she participate in the gold

4    trade with Iran?

5    A.   I don't remember, ma'am, I don't recall.

6    Q.   Do you remember what kind of business at all she did

7    participate in with Iran?

8    A.   Of course I recall the parts that pertain to me.         And I can

9    explain those if you'd like.

10   Q.   Just tell me what kinds of goods did she participate in

11   that you remember.

12   A.   As I had just testified, I don't know what business she is

13   involved in.    I know the part that pertains to me.       And in

14   that, she and I were working together on money transfer trade,

15   and she would receive business from Iranian banks, and she

16   would get her commission from that type of business.          And she

17   would work with me, she would send those jobs to me, we would

18   work together on those.     So in short, she was one of my

19   clients.

20   Q.   Was she a front company?

21   A.   No.

22   Q.   Was she Turkish?

23   A.   If I know correctly, I believe she is a citizen of Iran and

24   Turkey.

25              MS. FLEMING:   Can we please play the call that is 2-T.


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1              (Audio recording playing)

2    Q.   I'd like to direct your attention to page two of

3    Defendant's Exhibit 2-T.

4    A.   Go ahead, ma'am.

5    Q.   You told us that you worked with Ms. Deniz?

6    A.   Many times, ma'am.

7    Q.   You worked with her on Iranian transfers?

8    A.   That is correct, ma'am.

9    Q.   Just to be clear, not all business between Turkey and Iran,

10   including with gold, violates sanctions, does it at this time?

11   A.   I would only know my own trade that I'm conducting.            There

12   is no way that I would know what other people might be doing in

13   their trade.

14   Q.   All right.   Now, directing your attention to page two.          You

15   say at the bottom "No, Halkbank wouldn't know things like

16   that."   You see that?

17             And then a little farther down you tell her, "No, no.

18   It only acted as an intermediary for accredited transit."

19             Do you see that?

20             By "it," do you mean Halkbank?

21   A.   So, in this phone conversation, if you were to take a row

22   and dismiss all that was before and after that row, each row

23   can mean something different on its own.

24             So, evaluation of this section should be made based on

25   listening to the call from the very beginning of it and the


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1    information that was provided from the beginning onward.

2              So what Ms. Nesteren is saying is Sarmayeh is getting

3    a certain amount of money set aside at Central Bank of Iran for

4    customers, and Sarmayeh is getting 5 percent.         And they are

5    getting their cut from that commission of the 5 percent, and

6    they're giving me the two and a half percent commission.            And

7    they're having me do the transaction.

8              So, what I mean here, where I say No, Halkbank

9    wouldn't know things like that, this section, so here I'm

10   talking about the procedure that happens within Iran.          I'm

11   talking about Halkbank not knowing Sarmayeh getting 5 percent

12   from its money transfer from the Central Bank of Iran.

13   Q.   That's because you didn't tell Halkbank what you were doing

14   after you left Halkbank, correct?

15   A.   At Halkbank, specific people at Halkbank had information

16   about the business that I conduct, most definitely.

17   Q.   Did Mr. Atilla design this two and a half percent

18   commission that you have here, too?       Was this part of his grand

19   plan for you?

20   A.   In terms of determining the two and a half percent

21   commission that I would be receiving, Mr. Hakan Atilla would

22   not have any part in that.      But in terms of the system that was

23   developed for me to be able to utilize this two and a half

24   percent commission, in there, Mr. Hakan had a role.

25   Q.   He had done that as of February 13, 2013; that's what your


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1    testimony is?

2    A.   I don't know exact dates on this.      What I'm saying is at

3    the beginning of the food trade, where the method and the

4    system was developed at Halkbank, Mr. Hakan Atilla had his

5    contributions into that.     In terms of the dates and the other

6    information, that would not be correct to say.

7    Q.   There is no question pending.

8               Your discussion here on page two, you're discussing

9    about Halkbank acting as an intermediary for accredited

10   transit.    Do you see that?

11   A.   That is correct, ma'am.

12   Q.   Let's turn to 3-T.

13              MS. FLEMING:   This is Defendant's 3-T.      Which, again,

14   your Honor, we have by stipulation.       This is subject to our

15   case.

16              Could you put up page two, please, of 3-T.        Would you

17   play, please, 3-T.

18              I guess I'm asking you to play Exhibit 3.       3-T is the

19   transcript.    Thank you.

20              (Audio recording playing)

21   Q.   This is a conversation between you and Ruchan Bayar in

22   March 2013; is that correct?

23   A.   I don't recall the date exactly, ma'am, but the date that's

24   shown on this document is March 1st, 2013; that is correct.

25   And the phone conversation is between myself and Ruchan Bayar.


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     HC63ATI3                   Zarrab - Cross

1    That is correct, ma'am.

2    Q.   If I direct your attention to page three, you are

3    discussing with Mr. Bayar in the middle of the page to the

4    bottom that you need to get a customs declaration, correct?

5    A.   Yes, ma'am, I see that.

6    Q.   Are you discussing with him how to get a legitimate customs

7    declaration?

8    A.   If we compare it to the one in Turkey, then, yes, ma'am.

9    Q.   If you look at whether it's a Chinese one, is it still

10   legitimate for China?

11   A.   At least there were products or goods involved in the

12   business, the customs documents we were running out of China.

13   In the ones we were running out of Turkey, there was never a

14   real trade involved.

15   Q.   This is in March 2013, correct?

16   A.   That is correct, ma'am.

17   Q.   Turning to page four.     Mr. Bayar tells you that "Their

18   documents and contracts need to be prepared and the stamps are

19   with us ready."    Do you see that?

20   A.   I see that, ma'am.

21   Q.   Now, you're not discussing postal stamps, are you, sir?

22   A.   No.   He's talking about stamps for the documents that would

23   be between companies here, ma'am.

24   Q.   These were going to be stamps that would be fake documents

25   made to look like legitimate documents, correct?


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1    A.   Here, we are talking about the stamp for the stationery

2    that would be used for the Tianjin Company in China which was

3    under my control.

4    Q.   So, would you agree with me that if you did not explain

5    this, this would be -- some people could read this phrase

6    differently?

7              MR. KAMARAJU:    Objection, your Honor.

8              THE COURT:    Sustained.

9    Q.   Turning to page six.    At the top Mr. Bayar says to you,

10   "Um, three more companies of ours are almost complete.          They're

11   still not complete."     Do you see that?

12   A.   I see that, ma'am.

13   Q.   Are these front companies that you are putting together?

14   A.   Yes, ma'am, these are front companies that we're about to

15   establish.

16   Q.   You and Mr. Bayar were establishing these companies?

17   A.   They were being established at my direction by Mr. Bayar in

18   China, but they were being established under the names of other

19   individuals and not under the name of Mr. Bayar.

20   Q.   You go on to discuss with him that even if somebody doesn't

21   want to talk money, or a bribe, that you should give him a

22   watch anyway.

23             Do you see that?     Looking at the bottom of page eight.

24   A.   You can mark it here, please?

25   Q.   At the bottom of page eight you say -- Mr. Bayar says, "I


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1    said let's get this man a watch, a Rolex worth 30, $40,000.

2    Even if he is not taking money, let's make it a gift."

3              Do you see that, that you are discussing with him?

4    A.   I see the section where Ruchan Bayar is saying this to me,

5    ma'am; that's correct.

6    Q.   You agreed with him, didn't you?

7    A.   If Mr. Ruchan wanted to get a watch and give it to a bank

8    official, I would have definitely approved of it, ma'am.

9    Q.   On the next page, on nine, you told Mr. Bayar, looking at

10   the middle of the page, that a relative of yours used to say

11   that "when it comes to prostitutes and officers, tip them in

12   advance, he would say."     Do you see that?

13   A.   I see that, ma'am.

14   Q.   Then Mr. Bayar says a little bit down, "In fact, if you

15   were to give it to people when you have no business with them,

16   later they would all do this job for you for much less."

17             Do you see that?

18   A.   I see that, ma'am.

19   Q.   You believe, and have said, that you believe every person

20   has a price.    Correct?

21   A.   Everyone who is inclined to be bribed has a price, ma'am;

22   that is correct.

23   Q.   You have said everyone has his price, haven't you?         Those

24   words, sir?

25   A.   The words are correct, but what I mean in that sentence, as


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1    the person who is saying it, is that I had meant that those

2    that are inclined to receive bribes do have a price.

3    Q.   So the person who says the words should be the person who

4    interprets the words, correct?

5              MR. KAMARAJU:    Objection.

6              THE COURT:    Sustained.

7              MS. FLEMING:    Can we show what's marked as Exhibit

8    291, please.    I think this is in.

9              I'm sorry.    Can you go to page two, please.

10             I'd like to replay this.      Government Exhibit 291.

11             THE WITNESS:    This was played before, I remember it.

12   But if you'd like to play it again, certainly.

13             MS. FLEMING:    Thank you.    I was asking the judge.

14             Is it all right, your Honor?

15             THE COURT:    Yes.

16             MS. FLEMING:    Thank you.    Could we replay, please,

17   291.

18             (Audio recording playing)

19             (Continued on next page)

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     HC6PATI4                   Zarrab - Cross

1    BY MS. FLEMING:

2    Q.   That's a conversation between you and Mr. Happani that took

3    place at the end of March 2013; is that correct?

4    A.   First of all, I'd like to apologize to the madam because I

5    thought that the question has been posed to me before we had

6    listened to this call; so I apologize for that one.

7               I don't recall the date of this call, but based on

8    what's shown on the document, it shows that it's March 26,

9    2013, ma'am.

10   Q.   If I could direct your attention to page 3 and at 291-T,

11   down towards the bottom, you are telling Mr. Happani to provide

12   cikina?

13   A.   Cikinova.

14   Q.   And that, you told us, means false documents, correct?

15   A.   Cikinova is a term that we used amongst the personnel of

16   mine for any trade that was not real and any trade that did not

17   include -- involve real goods, ma'am.

18   Q.   The next sentence you say is, on page 3:        "The system is

19   ready.    I mean, it's not a big deal."     Do you say that,

20   Mr. Zarrab?

21   A.   Yes, ma'am, that's what I said.

22   Q.   Then you say:   I will fly to Dubai right away and will

23   arrange for the things, the documents, the cikinova documents.

24   Do you say that?

25   A.   Yes, ma'am; I said that.


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1              MS. FLEMING:    Your Honor, just for planning purposes,

2    I have one more short call in this series, and then I have --

3              THE COURT:    Go ahead.

4              MS. FLEMING:    -- another one.     Okay.   Could we pull up

5    Government Exhibit 236-T, which I believe is in evidence.

6    Page 2, please.    And could we play Government Exhibit 236-T.

7              (Audiotape played)

8    BY MS. FLEMING:

9    Q.   And I'm directing your attention, please, to the last page

10   of the conversation, page 3.

11   A.   Go ahead, ma'am.

12   Q.   Do you see that Mr. Happani says:      "Whatever the system is,

13   let's get started right away, brother.        In fact, let's get

14   started right away through Volgam, if you like."         Do you see

15   that?

16   A.   Yes, ma'am; I see that.

17   Q.   And you ultimately used Volgam as a food company, correct?

18   A.   It is true that I had used Volgam as a food company, but if

19   we were to look at the sentence just above this, it would also

20   show that the system was not ready yet.

21   Q.   If we look at the prior conversation I just played, it says

22   the system is ready; doesn't it, sir?

23   A.   The system was ready in terms of only the documents that

24   would be obtained from Dubai.       In terms of those customs

25   documentation that would be obtained from Dubai, that's what I


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1    was saying, and I'll continue.      But in terms of what it says

2    here, that we would hit money from Halkbank directly to Dubai,

3    ma'am, we have never sent directly any money from Halkbank to

4    Dubai.    So that's why I said here that the system was not ready

5    yet.

6               MS. FLEMING:   Your Honor, do you want to break, or do

7    you want me to keep going?

8               THE COURT:   Keep going.

9               MS. FLEMING:   This is the new -- All right.

10   Q.    Let's turn to -- you testified that this system that you

11   have said that Mr. Atilla designed, you had a meeting with him

12   sometime in April of 2013, correct?

13   A.    That is not correct.

14   Q.    When did you -- oh, you said sometime in the fourth or the

15   fifth month of the year; is that what your testimony was?

16   A.    In the question that madam asked me, it could be deduced

17   that the system was developed by -- completely by Mr. Atilla.

18   In fact, in my testimony, what I had mentioned was in the

19   development of the system, Mr. Atilla had made contributions to

20   it.

21   Q.    And the meeting where Mr. Atilla made contributions,

22   according to you, happened when?

23   A.    I don't recall the exact date, ma'am.

24   Q.    Can you give us any help on pinning down a date when this

25   meeting took place?


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1    A.   It could be the fourth month, it could be the fifth month.

2    If madam has anything that -- any document that she could

3    provide that could refresh my mind, I'm ready to look at that.

4    Q.   Well, you spent, you told us, 35 sessions with the

5    prosecution team after you agreed to cooperate, correct?

6    A.   I do not --

7    Q.   You had -- I'm sorry.

8    A.   I do not recall the exact number, ma'am.        What I had said

9    was it may be approximately 35.       I don't know the exact number.

10   Q.   You spent many, many hours looking at the evidence in this

11   case, correct?

12   A.   Of course during our meetings, there were times that we had

13   looked at evidence, but I do not have a count of how many hours

14   or for how long I may have looked at them.

15   Q.   And initially you told the prosecution team that you

16   believed the meeting happened April 4th, 2013, correct?

17   A.   No, ma'am.    I don't recall such a thing.

18             MS. FLEMING:    Your Honor, may I have a moment?

19             THE COURT:    Sure.

20             (Pause)

21   Q.   Do you remember, after reviewing some transcripts and

22   recordings with the prosecutors, saying that upon further

23   review, you thought the date might be a little bit later than

24   April 4th?

25   A.   I don't recall ever saying anything to the prosecution in


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1    terms of what date that may have been.

2    Q.   You don't remember ever discussing the dates of this

3    meeting, where Mr. Atilla made the contributions, in the last

4    several months?

5    A.   It is correct that the fourth month or the fifth month,

6    just as I have said here today, I would have said that same

7    time frame to the prosecutor's office as well, ma'am; that is

8    correct.

9    Q.   But you have no recollection, between the time you started

10   cooperating and today, of ever telling them that this meeting

11   took place prior to April 5th, 2013?

12   A.   So I recall that I had mentioned during or in between the

13   fourth and the fifth month, but I don't recall giving a

14   specific date, ma'am.

15              MS. FLEMING:   Could we pull up Government

16   Exhibit 298-T.    I'm sorry, wrong one.     I said the wrong one.

17   It is 295-T.    Page 2, please.    I'd like to play this call,

18   please.    Government's Exhibit 295.

19              (Audiotape played)

20   Q.   Now, Mr. Reza, this is the call that you told us Mr. Atilla

21   clearly had no idea that there were any false food products

22   involved in this, correct?

23   A.   As I had testified before, Mr. Hakan Atilla, as of this

24   phone conversation, has no information as to there being no

25   food products being sent from Dubai to Iran.         He was informed


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1    that the food trade would be taking place, but as to the fact

2    that no goods would be sent as of this time, he has no clue.

3    Q.   We'll get to it.    In this call, you lie to him, don't you?

4    A.   In this conversation, I'm trying to tell him that -- of

5    course, I'm trying to tell him that there would be something

6    sent from Dubai, and this is so much different than what

7    Mr. Suleyman Aslan and we had talked about; so it is correct,

8    he does not have the information I'm trying to explain to him

9    here.

10   Q.   So you lied to Mr. Atilla, correct?

11   A.   Yes, that is correct, ma'am.

12   Q.   And you lied to him as of April 10th, 2013, at 11:45 in the

13   morning, correct?

14             MR. KAMARAJU:    Your Honor?

15   A.   I don't recall the exact time or the date, but if what is

16   written here is correct, then that is correct, ma'am.

17   Q.   You lied to him --

18             THE COURT:    So, counsel, I think this would be a good

19   time for us to take our lunch break.       We'll see everybody back

20   here at 2:00.

21             MS. FLEMING:    Thank you, your Honor.

22             (Jury not present)

23             THE COURT:    See you at 2:00.

24             MS. FLEMING:    Thank you, your Honor.

25             (Luncheon recess)


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1                     A F T E R N O O N      S E S S I O N

2                                   2:00 P.M.

3              (Jury not present)

4              (At the side bar)

5              THE COURT:    Is it okay?    And by "okay" I mean whether

6    the jurors could have time in the jury room to look at their

7    respective notes at their request.

8              MS. FLEMING:    I'd give them the afternoon off, if you

9    want.   Works for me.

10             THE COURT:    It depends on where we are in the

11   calendar.

12             MR. KAMARAJU:    From our perspective, I think it's

13   fine, as long as they're instructed not to deliberate and to

14   keep an open mind until deliberations begin.

15             THE COURT:    I usually also instruct at the end --

16   maybe I did already at the beginning -- that notes are not

17   evidence.

18             MR. ROCCO:    Yes, I think that that's --

19             THE COURT:    Did someone else have something else?

20             MR. ROCCO:    Mr. Denton, had a good suggestion, but if

21   your Honor's practice is to let the jurors leave the pads

22   behind, might the Court allow the jurors to take their pads

23   with them?

24             THE COURT:    Home, you mean?

25             MR. ROCCO:    No, no.


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1              THE COURT:    Oh, into the jury room?

2              MR. ROCCO:    Yes.

3              THE COURT:    That's the idea.

4              MR. ROCCO:    But I mean regularly, as opposed to just

5    on special occasions.

6              THE COURT:    I think not.    I mean, I think not.

7              MR. ROCCO:    Okay.

8              THE COURT:    They didn't ask.

9              MS. FLEMING:    What if they lose one.

10             MR. ROCCO:    That's right, but also, I think in most

11   cases where jurors take notes, they basically keep their pads

12   with them at the end of the day.

13             THE COURT:    I do think that the possibility is that

14   somebody will forget to take it or take it home.         This is all

15   they asked to do, was just to have some time.         I thought we

16   would do it over a lunch break, maybe add an extra half hour

17   added onto lunch.

18             MR. KAMARAJU:    That's fine with us.

19             MR. ROCCO:    Okay.   Thank you, your Honor.

20             THE COURT:    Thanks very much.

21             MS. FLEMING:    I apologize, Judge, for keeping my hands

22   in my pocket because it's freezing in here.

23             THE COURT:    I know.   Everyone is coughing, including

24   myself.

25             MR. KAMARAJU:    One thing, he may require a couple more


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1    bathroom breaks this afternoon.       It's up to you, your Honor, if

2    you want it on the record.

3              THE COURT:    Sure, why not.

4              MR. KAMARAJU:    Just because of a health condition.

5              THE COURT:    Yes, so typically what he's done is sort

6    of signal me, can I have a break, and that's when I --

7              MR. KAMARAJU:    If it's okay, I'll just tell

8    Mr. Anello.

9              THE COURT:    Do you have any idea how often?

10             MR. KAMARAJU:    I don't.    I think the same schedule,

11   but I don't think it needs to be every five minutes.

12             THE COURT:    You don't have to inquire about that, just

13   say it's fine.

14             MR. KAMARAJU:    Okay.

15             MS. FLEMING:    And, your Honor, I appreciate your

16   asking me, but honestly, you can just feel free to just....

17             THE COURT:    Well, I particularly did because we were

18   in the middle of some things.

19             MS. FLEMING:    It's okay.

20             MR. KAMARAJU:    Of course, we don't want that to be the

21   case, if you're in the middle of a line of question.

22             MR. DENTON:    Your Honor, we had a short letter that we

23   wanted to submit.    The government doesn't actually ask for any

24   action.   It's just something we want to put on the record in

25   writing about our treasury witnesses.       We didn't want to submit


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1    it without asking for permission.

2              THE COURT:    You mean, you want to put it up on the

3    docket?

4              MR. DENTON:    Yes.

5              THE COURT:    Yes, sure.

6              MR. DENTON:    We can give you a copy now.

7              THE COURT:    I don't know the reason, but we'll take

8    it, and give it to them.

9              MR. DENTON:    That's fine.

10             THE COURT:    Okay.   I think we're ready to roll.

11             MR. DENTON:    And we'll file it as soon as we get out

12   of court.

13             (Continued on next page)

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1              (In open court)

2              THE DEPUTY CLERK:     Ready?

3              THE COURT:    Yes.

4              (Jury present)

5              THE COURT:    Please be seated, everybody, and we'll

6    continue with the cross-examination by Ms. Fleming.

7              MS. FLEMING:    Thank you, your Honor.      May I proceed?

8              THE COURT:    Yes.

9              THE DEPUTY CLERK:     One moment, counsel.     Sir, I'd just

10   like to remind you that you're still under oath.

11             THE WITNESS:    (In English)    Yes.

12   BY MS. FLEMING:

13   Q.   Before we broke, Mr. Reza, I asked you whether you recalled

14   discussing with members of the prosecution team fixing a date

15   for this meeting where Mr. Atilla was supposed to have helped

16   improve the system.     Do you recall me asking you those

17   questions?

18   A.   Yes, ma'am.

19   Q.   And you told us you didn't remember that, correct?

20   A.   Yes, ma'am.

21             MS. FLEMING:    I'd like to ask that only for

22   Mr. Atilla, not the jury -- sorry, Mr. Zarrab, not the jury,

23   would you bring up 3501-52, and would you please go to the

24   second page.

25   Q.   Reading to yourself, please, not saying anything out


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1    loud -- and if you need the interpreter to help, could you

2    please do it without the microphone -- would you look at the

3    section that starts four, five?

4              THE COURT:    Could you tell us what this is?

5              MS. FLEMING:    It's Jencks material, your Honor.

6              THE COURT:    What does it purport to be, notes?

7              MS. FLEMING:    Yes.

8              THE COURT:    Is it from Mr. Atilla?     Did he write

9    these?

10             MS. FLEMING:    Mr. Zarrab.    I think you caught my --

11             MR. KAMARAJU:    Your Honor, I'll have to explain at the

12   sidebar, but these are not notes that Mr. Zarrab has written.

13             THE COURT:    Okay.

14   BY MS. FLEMING:

15   Q.   Could you read that, please, and see if that refreshes your

16   recollection.

17             (Pause)

18             Did you have a chance to read it?

19   A.   Yes, ma'am.

20   Q.   Does that refresh your recollection that on November 14th,

21   2017, you told members of the prosecution team that the meeting

22   you have described to us took place on April 5th, 2013?

23   A.   No, it absolutely does not refresh my memory.        I don't

24   recall ever mentioning such a date in here, ma'am.

25   Q.   Could you take that down, please.      Now, in preparation for


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1    testimony, you also prepared timelines for the members of the

2    prosecution team; isn't that correct?

3    A.   That is not correct, ma'am.

4    Q.   Did you work with members of the prosecution team to

5    prepare Excel spreadsheet timelines?

6    A.   That is not correct, ma'am.

7              MS. FLEMING:    Would you bring up, please, just for

8    Mr. Zarrab, not the jury, 3501-054.

9              MR. KAMARAJU:    Objection, your Honor.

10             THE COURT:    Could I take a look?

11             MS. FLEMING:    I was going to ask the refresh

12   recollection question, your Honor.

13             THE COURT:    Why don't you come here.

14             (Continued on next page)

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1              (At the side bar)

2              THE COURT:    Okay.   So the question is, what do you

3    want to show him?

4              MS. FLEMING:    I was going to show him what was

5    provided to us in 3500 material.

6              THE COURT:    What is it?

7              MS. FLEMING:    I believe it is a timeline.      He

8    testified before that he prepared Excel spreadsheets, and it is

9    timelines, including spellings that look like it's somebody who

10   was in a foreign language.      Chief, for example, is spelled

11   C-h-e-e-f.

12             THE COURT:    But you have no knowledge that it is his.

13             MS. FLEMING:    Well, only what he testified to earlier.

14   What I was going to do was ask him if it refreshes his

15   recollection.

16             MR. KAMARAJU:    He didn't say he didn't remember.        The

17   question was, did you prepare timelines with the prosecutor's

18   help.   He said no.

19             MS. FLEMING:    That's different, all right.

20             (Continued on next page)

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     HC6PATI4                   Zarrab - Cross

1              (In open court)

2    BY MS. FLEMING:

3    Q.   Did you, at any point, look at any timelines that were

4    prepared with the prosecution team in preparation for trial?

5    A.   The Excel documents containing a timeline is a document

6    that I had prepared for myself to help me remember things.          It

7    was not something that was prepared with the prosecution team.

8    Q.   Did you provide that Excel spreadsheet to the members of

9    the prosecution team?

10   A.   All the work that I have done since I'm supposed to turn

11   them over to prosecution as evidence, even if it's work that I

12   have done on my own, I have submitted everything as evidence to

13   them, ma'am, yes.

14   Q.   What was the title of the timeline Excel spreadsheet that

15   you prepared?    What's across the top of it?

16   A.   I don't remember, ma'am.

17   Q.   How many versions of the Excel spreadsheet that you

18   prepared did you provide to the prosecution?

19   A.   I don't remember the number, ma'am.

20   Q.   Did you keep all versions of it, or did you rewrite over

21   them?

22   A.   No, I saved each of them as separate versions, ma'am.

23             MS. FLEMING:    May I have a minute?

24             (Pause)

25             Your Honor, can I ask just for Mr. Zarrab, that


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     HC6PATI4                   Zarrab - Cross

1    3501-54 be shown to him so that he can identify it?

2              THE COURT:    Yes.

3              MS. FLEMING:    Not for the jury, please.

4    BY MS. FLEMING:

5    Q.   Mr. Zarrab, would you look at 3501-54, and would you tell

6    us whether that is one of the Excel spreadsheet iterations that

7    you just described?

8    A.   Yes, ma'am.

9    Q.   It is.   Could we scroll through the pages, and would you

10   identify and see whether all of the pages are pages that you,

11   in fact, identified -- I'm sorry, bad question.

12             Is this the entire document, that is 3501-54, are

13   these all pages on an Excel spreadsheet that you prepared?

14   A.   It is in the same format as the Excel spreadsheet that I

15   had prepared.    Whether this is the one I had prepared or not, I

16   don't know.    It looks identical as to the one that I had

17   prepared.

18   Q.   Would you look at pages 3 to 4, please, and reading to

19   yourself, would you see whether there are any entries related

20   to a meeting involving Hakan Atilla --

21             MR. KAMARAJU:    Objection.

22             THE COURT:    I'll allow it.

23   Q.   -- and yourself between April 4th and April 22nd, 2013,

24   meetings with Hakan Atilla?

25   A.   Can we go to the fourth page, please?


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     HC6PATI4                   Zarrab - Cross

1    Q.   I can't hear you, I'm sorry.

2              THE INTERPRETER:     Can we go over to the fourth page,

3    please.

4              MS. FLEMING:    Yes, can we go over to page 4, please.

5    Q.   You've had an opportunity to review it?

6              THE DEPUTY CLERK:     One second, counsel.     I'm switching

7    batteries in the microphone.      Thank you.

8    BY MS. FLEMING:

9    Q.   Have you had an opportunity to review 3501-54, on pages 3

10   to 4?

11   A.   Yes, ma'am, I have.

12   Q.   And there are no entries for any meetings involving --

13             THE COURT:    That's not -- is that a question or are

14   you testifying?

15             MS. FLEMING:    I was going to say "is there" at the

16   end, your Honor.

17             THE COURT:    I think you should ask the question.

18   BY MS. FLEMING:

19   Q.   I am correct, am I not, sir, that there are no entries for

20   any meetings between you and Mr. Hakan Atilla between the time

21   period of April 4th through April 22nd, 2013?

22             MR. KAMARAJU:    Objection, your Honor.

23             THE COURT:    I'll allow it.

24   A.   In this version, that does not exist, ma'am.

25   Q.   And you created this by using recordings such as the


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1    recordings we've been listening to here, in part; isn't that

2    correct?

3    A.   No, not just the recordings, ma'am.

4    Q.   And you used the recordings as part of what you used to

5    create this document, correct?

6    A.   It is true that I used the phone conversations also in

7    order to refresh my mind, ma'am.

8    Q.   And the version that we are looking at is created as of

9    November 16th, 2017, correct, sir?

10   A.   That is -- the date that is shown on this document is

11   11-16-2017, ma'am.

12   Q.   We were discussing before lunch April 10th, 2013; do you

13   remember that?

14   A.   Yes, ma'am, I remember.

15   Q.   And do you recall that we had just played for the jury

16   Government Exhibit 295?     Do you recall that?

17   A.   I remember, ma'am.

18              MS. FLEMING:   And may I impose on you, Mr. White, so

19   that the jury can see this, Government Exhibit 295-T, page 2?

20              May I approach the easel, your Honor?

21   Q.   Can you see, Mr. Reza?     And the call on GX295 is the call

22   where you say, and you have testified, that Mr. Atilla knows

23   nothing about the food being fake, correct?

24   A.   This is the phone conversation where Mr. Atilla has no

25   information about the food trade not being real.


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1    Q.   And that's on April 10th, 2013, at 11:45 a.m., correct?

2    A.   Pursuant to the document that I'm being shown here.            I

3    cannot see this.

4               MR. KAMARAJU:    Is that all right, your Honor?

5               THE COURT:   Oh, yes.   It's okay for you, but not for

6    me because I can't see it either.

7               So to eliminate the suspicion, what have you got on

8    the board?

9               MS. FLEMING:    I'm sorry.   I should read it out loud.

10   What I have written here, please tell me if you agree,

11   "April 10, 2013, GX," Government Exhibit, "295, 11:45 a.m."

12              THE COURT:   That's it?

13              MS. FLEMING:    That's it.

14   A.   Yes, ma'am.

15              MS. FLEMING:    Could I ask that we bring up Government

16   Exhibit 238, which I believe is in evidence, 238-T, page 2,

17   please.    Could we please play Government Exhibit 238.

18              THE COURT:   Have we before?

19              MR. KAMARAJU:    Yes, your Honor.

20              MS. FLEMING:    All right.   Apparently, Mr. White

21   doesn't have that one; so we'll skip playing that one.

22   Q.   This is the conversation on April 10th, 2013, at 8:52 in

23   the morning; do you see that?

24   A.   Based on the document that I'm being shown here, that is

25   correct.


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1    Q.   And this is the phone call, Government Exhibit 238, where

2    you have Serdar, one of your employees, go pick up customs

3    books, manifests; is that correct?

4    A.   That is correct, ma'am.

5    Q.   And that was for the reason that you wanted to have blank

6    manifests in order to make cikinova, documents for cikinova,

7    correct?

8    A.   This is one of the documents that we would be submitting to

9    the bank as part of that package to be sent to the bank, and

10   this one would pertain to food trade that would not involve any

11   real food trade; so in that sense, it is correct, ma'am.

12   Q.   And this call was before your call to Mr. Atilla, correct?

13   A.   Based on this document, that is correct, ma'am.

14              MS. FLEMING:   Your Honor, with your permission, I'm

15   simply going to add Government Exhibit 238 and the time of the

16   call.    So I have placed on the board "GX238, 8:52 a.m."

17              Next, I'm going to ask to pull up Government

18   Exhibit 297, which is in evidence.

19   Q.   Do you see that Government Exhibit 297 is a phone call

20   between you and Mr. Happani on April 10th at 6:58 p.m.?

21   A.   Based on the document that I am being shown, I see that,

22   ma'am.

23              (Continued on next page)

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     HC63ATI5                   Zarrab - Cross

1    Q.   Could I ask that you turn to page four.       Do you see halfway

2    down, this is the call where you say to Mr. Happani, "Hakan

3    Atilla threw a wrench in the gears and he threw this thing."

4    Do you see that?

5    A.   Yes, I see that, ma'am.

6    Q.   A little bit above that, you say "The man made the call in

7    my presence."    Just below that you say, "and said 'you will do

8    this job.'"    Do you see that?

9    A.   I see that, ma'am.

10   Q.   You testified the other day -- withdrawn.

11             Am I correct that you testified the other day that

12   between the phone call in the morning and this phone call at

13   6:58, you went to the bank and met with Suleyman Aslan?

14   A.   I did not testify as to the date and the time of day of

15   that, but it is true that I did say that I had met with

16   Suleyman Aslan on that day.

17   Q.   It was between the time of the call in the morning when

18   Mr. Atilla did not know what was going on with the

19   transactions, and the time that you told Mr. Happani about

20   this, correct?

21   A.   It is true that I visited with Mr. Suleyman at Halkbank

22   after I had talked with Mr. Hakan Atilla; that is correct,

23   ma'am.

24   Q.   That same day, correct?

25   A.   Yes, ma'am.   Based on this document.


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     HC63ATI5                   Zarrab - Cross

1              MS. FLEMING:    Your Honor, may I approach the easel?

2    Q.   I'm going to add here -- this call took place at

3    6:58:31 p.m., correct?

4    A.   Based on the document that's being shown to me, that is

5    correct, ma'am.

6    Q.   So I have added to the board "Government Exhibit 297, at

7    6:58 p.m."

8              You already had an appointment to see Mr. Aslan that

9    day; isn't that correct?

10   A.   Yes, that is correct, I went to the bank in order to meet

11   with Mr. Suleyman Aslan on that day, ma'am.

12   Q.   You had made an appointment on April 9 in order to see

13   Mr. Aslan on April 10, correct?

14   A.   I don't remember when I made that appointment, ma'am.

15             MS. FLEMING:    Could we pull up 1002-T, please.          It's

16   in evidence.    And go to pages 14 to 15.

17   Q.   Do you see on the bottom of page 14 -- I'm sorry this is

18   the English version.     Let me get you the Turkish version.

19             Do you see at the bottom -- it is a different page.

20             MS. FLEMING:    Go one page back.     We're looking for the

21   entry for 4/9.

22   Q.   Do you see the entry at April 9, bottom of page 14 in the

23   English that says "My dear general manager, I would like to

24   visit you at a convenient time if it's okay with you."          Do you

25   see the response Mr. Suleyman says "Tomorrow at 4 p.m. is


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1    convenient."

2    A.   I see that, ma'am.

3              MS. FLEMING:    If you can go to the next page.       You can

4    take that down.

5    Q.   So you went to the bank on April 10.       Do you remember what

6    time in fact you went to the bank?

7    A.   No, I don't remember exactly, no.

8              MS. FLEMING:    Your Honor, may I approach?

9              THE COURT:    Yes.

10   Q.   I'd like to show you -- I have to mark it.        Sorry.

11             I'd like to show you what's been marked Defendant's

12   903 and I'll ask you if you will look at it and see if it

13   refreshes your recollection as to what time you visited

14   Halkbank on April 10, 2010.

15   A.   There is a time mentioned here that as to when I had gone,

16   but looking at it does not refresh my mind.

17   Q.   Does it refresh your recollection that you kept your

18   appointment at 4 o'clock on April 10?

19   A.   I did go to Halkbank on April 10 in order to meet with

20   Mr. Suleyman Aslan.     But whether that was at 3:30, 4:30 or

21   5 o'clock, I don't recall.

22             MS. FLEMING:    Come we bring up, please, Government

23   Exhibit 298-T.    This is in evidence.     Page two, please.

24   Q.   This is the conversation that you had and testified about

25   with Hakan Aydogan.     Do you remember testifying to that?


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1    A.    Yes, ma'am, I remember it.

2    Q.    This call to Mr. Aydogan was on April 10, at 8:02 p.m.;

3    isn't that correct?

4    A.    Based on the document that I'm being shown here, that is

5    correct.

6                 MS. FLEMING:   Your Honor, I have written "GX 298,

7    8:02 p.m." on the board.

8    Q.    You testified on December 1st that you had, prior to this

9    telephone conversation on April 10, had never spoken to Hakan

10   Aydogan about doing the food business; do you remember

11   testifying to that?

12   A.    I would have said that I don't remember having that

13   conversation.

14   Q.    Do you remember being asked on December 1st, page 555, the

15   following question and giving the following answer:

16   "Q.    Prior to this conversation, had you ever spoken to Hakan

17   Aydogan about doing the food business?

18   "A.    No.    I had not talked to him regarding this matter."

19                Do you remember giving that answer to that question?

20   A.    I don't recall exactly, but if it's on court records, it is

21   correct.

22   Q.    And that was December 1st.     Correct?

23   A.    I don't recall the date either because I've been testifying

24   for a few days now.

25   Q.    If you look at the first lines, three lines on Government


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1    Exhibit 298, you say "Mr. Hakan, greetings again."

2    A.   Yes, ma'am, I see that.

3    Q.   And then you go on -- the next line Mr. Aydogan says, "Um,

4    sorry, I did not" unintelligible "at the meeting for."

5              Do you see that line?

6    A.   Yes, ma'am, I see that.

7    Q.   When had you spoken to Mr. Hakan Aydogan that you were

8    giving him greetings again at 8:02 on April 10, 2013?

9    A.   If I recall correctly, we had possibly exchanged phone

10   calls, and when I had called he had said he was in a meeting

11   and he would return to me later, and then he called me back.

12   Q.   Was that on the same day, April 10, 2013, that you had this

13   conversation that he would call you back?

14   A.   I recall that to be so, ma'am.

15   Q.   Was this after Mr. Suleyman Aslan called Mr. Atilla in your

16   presence at the meeting that afternoon at Halkbank and ordered

17   him to do the job?

18   A.   That time, I remember it to be after that, ma'am.

19   Q.   You remember it after the meeting where Mr. Suleyman in

20   your presence called and told Mr. Atilla to do the job?

21   A.   That is what I remember to be, ma'am; that's correct.

22   Q.   So on the board, you don't remember the time, but it was

23   somewhere in the afternoon that you were in Mr. Suleyman's

24   presence for your 4 o'clock appointment, correct?

25   A.   That is correct, ma'am.


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     HC63ATI5                   Zarrab - Cross

1    Q.   Do you remember how long you were with Mr. Suleyman at your

2    appointment at Halkbank?

3    A.   I do not remember, ma'am.

4    Q.   But after that meeting, and before 8:02 with Government

5    Exhibit 298, you had a brief call with Mr. Aydogan?

6    A.   Not a conversation.    Just that he was not available, that

7    he would return back to me.

8    Q.   Was it a phone call or a meeting while you were at

9    Halkbank?

10   A.   I recall it to be a phone conversation, ma'am.

11             MS. FLEMING:    Over on the right under the appointment

12   and above anything else, I'm going to put "conversation with

13   Hakan Aydogan."

14   Q.   In any of the recordings that you have reviewed or listened

15   to, in discovery or your 35 meetings with the prosecution team,

16   have you seen a recording with Hakan Aydogan on April 10, 2013,

17   other than Government Exhibit 298 that we've played?

18   A.   I don't recall such conversation among the conversations

19   that I listened to.

20   Q.   But you are sure you did not have a meeting in person with

21   Mr. Hakan Aydogan while you were at Halkbank on April 10, 2013.

22   A.   I don't recall having a face-to-face meeting with Mr. Hakan

23   Aydogan on that day, ma'am.

24             MS. FLEMING:    You can take that down, please.

25             Can we please put up and play Defense Exhibit 4-T.        Go


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1    to page two, please.

2    Q.   Do you recognize --

3              MS. FLEMING:    Let's play the call first.      Can we

4    please play Defendant's Exhibit 4.       Play that, please,

5    Mr. White.

6              (Audio recording playing)

7    Q.   That's another call with Serdar who works for you?

8    A.   Yes, ma'am, that's correct.

9    Q.   Is this also a conversation about picking up the documents

10   at customs?

11   A.   That is correct, ma'am, that's what it's about.

12   Q.   This one is at 11:43 a.m. on April 10, correct?

13   A.   In line with the document that I'm being shown here, that

14   is correct, ma'am.

15             MS. FLEMING:    I'm putting up on the board, your Honor,

16   "Defendant's Exhibit 4, at 11:43 a.m."

17             You can take that down, Mr. White.

18   Q.   Mr. Suleyman picked up the phone in your presence and

19   called Hakan Atilla and said "You will do this job."          Do you

20   recall that, correct?

21   A.   Yes, ma'am, I remember.

22   Q.   And then you met with him shortly after that to go over the

23   plans that he was going to help you improve on your system; is

24   that correct?

25             THE COURT:    Who is the "he"?


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1              MS. FLEMING:    Mr. Zarrab and Mr. Atilla.

2              THE COURT:    What was the question?

3              MS. FLEMING:    Now you push me, Judge.      I'll start

4    over.

5    Q.   After this April 10 meeting with Mr. Suleyman, you had a

6    meeting with Mr. Atilla and Mr. Suleyman, correct?

7    A.   As I have testified before, I did not recall the time of

8    this meeting with Mr. Hakan Atilla and Mr. Suleyman, ma'am.

9    Q.   It was an important enough event that Mr. Suleyman Aslan

10   picked up the phone in your presence and called Mr. Atilla and

11   said "You will do this job," correct?

12   A.   Doing the food trade was certainly very important, so that

13   is correct, ma'am.

14   Q.   And yet, you cannot tell us with any more specificity than

15   it was the fourth or the fifth month of the year of 2013 that

16   you had this important meeting with Mr. Atilla?

17   A.   Ma'am, the seat that I'm in over here gives me the

18   responsibility to speak 100 percent truthfully as to what I

19   remember.   When I do not remember something, I cannot speak to

20   that.   I cannot speak to that.

21   Q.   And you can't give us any better date than the fourth or

22   the fifth month of the year in 2013, despite working on Excel

23   spreadsheets and putting -- listening to all the recordings and

24   looking at all the discovery and records in this matter for the

25   last several months; is that correct?


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1    A.   That is how it is, ma'am.     If there was any specific

2    information, I would have mentioned it now.

3              MS. FLEMING:    Can we pull up 5-T, please, page two.

4    Q.   When do you remember speaking next to Mr. Atilla?         Can you

5    give us any time or date when you next remember speaking to him

6    after the April 10, 2013, phone call that we've put on the

7    board?

8    A.   No, ma'am.

9              THE COURT:    We're going to take a two-minute break.

10             (Recess)

11             (Continued on next page)

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1              (At the sidebar)

2              THE COURT:    I'm just looking over the December 6

3    letter from the government, and I want to know from the

4    defense, do you want to respond?

5              MR. ROCCO:    Yes.

6              THE COURT:    In writing?

7              MR. ROCCO:    Yes.

8              THE COURT:    And realistically, when do you want to do

9    that?

10             MR. ROCCO:    We'll try to have it to you early this

11   evening, Judge.

12             THE COURT:    Okay.

13             MR. ROCCO:    We're working on it as we speak.

14             THE COURT:    Okay.   Then I think we should have some

15   oral discussion of it.

16             MR. ROCCO:    Sure.

17             THE COURT:    Probably 9 o'clock I'd say.

18             MR. ROCCO:    At 9?

19             THE COURT:    Is that okay?

20             MR. ROCCO:    Yes.

21             MR. DENTON:    That's fine.    We were not asking for any

22   action on the Court's part.      We just wanted to let you know.

23             THE COURT:    Understood.    Okay.    So, I think I would

24   probably give you each 10, 15 minutes.         Is that enough?

25             MR. ROCCO:    That's fine with me, Judge.


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1              THE COURT:    In the morning at 9 o'clock.

2              (Continued on next page)

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     HC63ATI5                   Zarrab - Cross

1               (In open court; jury present)

2               THE COURT:   Ms. Fleming, we'll continue with your

3    cross.

4               THE DEPUTY CLERK:     Sir, again to remind you that

5    you're still under oath.

6               THE WITNESS:   Yes.

7               THE DEPUTY CLERK:     Thank you.

8               MS. FLEMING:   Your Honor, may I proceed?

9               THE COURT:   Yes.

10              MS. FLEMING:   Thank you.

11   Q.    I believe we were about to play 5-T.      Does everybody have

12   it?

13              (Audio recording playing)

14   Q.    I'd like to direct your attention to page one at the

15   bottom, Mr. Zarrab.     And first, Binnur is an employee from

16   Halkbank, correct?

17   A.    That is correct, ma'am.

18   Q.    She's an employee in the foreign operations department at

19   Halkbank; is that correct?

20   A.    I do not remember, ma'am.     I seem to remember that perhaps

21   she was at a branch, a branch employee.        But, I don't remember

22   where, how, or what title she held, so I don't remember.

23   Q.    You have a hard time remembering which employee is who at

24   Halkbank; is that fair to say?

25   A.    No, that would not be fair.


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1    Q.   Down at the bottom, you say to Binnur from Halkbank when

2    she asks about the invoice document, "They will all be from

3    Dubai for now.     Yesterday, um, we talked with, um, what was the

4    gentleman's name, um, with Mr. Hakan."

5               Do you see that?

6    A.   Yes, ma'am.

7    Q.   You spoke with two Hakans on the day before, April 10,

8    correct?

9    A.   That's correct, ma'am.

10   Q.   Which Hakan are you talking about in that part of the

11   conversation?

12   A.   It could be either of the Mr. Hakans, ma'am.

13   Q.   When you go to page three, it says at the top "Yesterday we

14   talked regarding all the documents.       The customs.    First, we

15   will give you a pro forma invoice."

16              Do you see that paragraph?

17   A.   Yes, ma'am, I see that.

18   Q.   If goes on to say "We will get the money in the account.

19   We will give you the pro forma invoice of the company, from

20   which we will purchase the sugar, purchase the rice, purchase

21   the wheat and purchase the soy.       We will send the money there."

22              Do you see that?

23   A.   Yes, ma'am, I see that.

24   Q.   Who is the "we" that you are telling Binnur from Halkbank

25   that you discussed all the documents on April 10, 2013?


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1    A.   It's myself, Mr. Suleyman, Mr. Hakan, both Mr. Hakans.

2    Q.   Both Mr. Hakans.

3    A.   Yes, when we look at the previous conversations, we know,

4    we see that I had talked with both Hakans on the day before.

5    Q.   But, you had not discussed with Mr. Atilla the day before

6    that you would give the pro forma invoice of the company from

7    which you would purchase the sugar, purchase the rice, purchase

8    the wheat, and purchase the soy, did you, sir?

9    A.   It may not be the exact rice, sugar, or wheat or soy, but

10   someone who knows the business, if someone knows the business

11   would listen to this conversation, that they would be able to

12   easily tell that I'm talking about the same thing.         In other

13   words, this is describing the exact same thing as a whole.

14   Q.   You're talking to Mr. Atilla in the morning about his

15   understanding that there would be a letter of credit in place

16   for these food transactions; isn't that correct, sir?

17   A.   It is not me that is telling this to Mr. Hakan Atilla.

18   Mr. Hakan Atilla himself is saying this.        And whether he had

19   concluded this from a conversation with the branch or perhaps

20   through his general manager, I don't know how he may have had

21   that perception.    But, he's the one that is talking about the

22   use of the letter of credit in conjunction with the food trade.

23   I'd like to emphasize that's how he thought, that's how he

24   perceived it.

25   Q.   And he was talking about payment for the foods, correct?


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1    A.    Yes, ma'am.

2    Q.    And again, he thought these were real food transactions.

3    You've told us that, correct?

4    A.    As of that date, he certainly thought these were real food

5    transactions, ma'am; that is correct.

6    Q.    Then you spoke that evening to Hakan Aydogan and you lied

7    to him about what the transactions would be, correct?

8    A.    Mr. Hakan Aydogan did not have information as to the

9    reality of this trade either, ma'am; that is correct.

10   Q.    So you lied to him, correct?

11   A.    That is correct, yes, ma'am.

12   Q.    And now on April 11, the next morning, at 9:33 you're lying

13   to Binnur at Halkbank, correct?

14   A.    Since Ms. Binnur does not have information on this either,

15   that is correct, ma'am.

16              MS. FLEMING:    Could we please pull up Government

17   Exhibit 240-T.      I don't remember if we played this one.         It

18   would probably be quicker if we played it than talking about

19   it.

20   Q.    This is a conversation between you and Mr. Happani?

21   A.    That is correct, ma'am.    This is a phone conversation

22   between myself and Mr. Abdullah Happani.

23              (Continued on next page)

24

25


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1    Q.   And you call him within minutes of speaking to Binnur,

2    correct?

3    A.   I did not look at the time that was indicated on the

4    previous recording in terms of timing.        I just do not remember.

5    Q.   And you tell Mr. Happani, let's do researches on the prices

6    right away and do sugar.     He had obtained a pro forma from that

7    Brazilian company in the past.      Do you see that?

8    A.   I'm saying that Mr. Gudarzi could quickly resource this

9    because Mr. Gudarzi had obtained a pro forma invoice from

10   Brazil pertaining to sugar in the past.

11   Q.   And you told us that Mr. Gudarzi actually had an office

12   physically located within your offices, correct?

13   A.   That is absolutely correct.

14   Q.   Now, your offices were not near Halkbank, were they, or in

15   Halkbank?

16   A.   Our office was not within Halkbank, no.

17              MS. FLEMING:   Could we pull up Government

18   Exhibit 300-T.    300T is in evidence and we've played it.

19   Q.   Do you remember this call, Mr. Zarrab?

20   A.   I remember, ma'am.

21   Q.   Now, this is a call where you are complaining to

22   Mr. Happani about all the documents that are being asked of you

23   from the people at Halkbank; isn't that correct?         In part.

24   There's other parts of the conversation, but in part?

25   A.   I'd like to answer this question with remembering what is


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1    there; so if you can turn to that page and highlight that

2    section for me, then I can answer.

3    Q.   Let's start on page 2, at the bottom.

4    A.   Yes, ma'am.

5    Q.   Do you see at the bottom of page 2, Mr. Happani is telling

6    you that he did what you recommended but the accounting

7    department is being difficult?

8    A.   Yes, ma'am, I see that.

9    Q.   And if you go further down, the bottom of the page going

10   over, Mr. Happani tells you:      "There is this thing in addition

11   to the one month.    Because of this invoice, this thing" and

12   then it goes on to talk about the difference in prices of gold;

13   do you see that?

14   A.   Yes, ma'am, I see that.

15   Q.   And this pertains to you are having issues with regard to

16   the fluctuating prices of gold, and you don't want Halkbank to

17   be nagging you for documents at this time, correct?

18   A.   That is not correct.    What we have here is that Mr. Happani

19   is requesting from me, due to the abnormal difference in gold

20   prices, that the documents being requested be delayed by about

21   a month or so.

22   Q.   And you told us, you testified that Halkbank wanted you to

23   turn documents in within a certain period of time, correct?

24   A.   Yes, ma'am; that is correct.

25   Q.   And then if you go down to the bottom of page 3,


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1    Mr. Happani says that:     "We had turned in the partnership

2    structure to the bank, but it's not certified.         They want a

3    certified copy;" do you see that?

4    A.   Yes, ma'am, I see that.

5    Q.   And the partnership structure is what you testified about

6    before, which is Halkbank required partnership or shareholder

7    structures for Iranian companies to make sure they were not

8    directly or indirectly owned by the Iranian government,

9    correct?

10   A.   That is correct, ma'am.

11   Q.   And if you go over to page 4, this is where you say you

12   don't want to be calling the man, basically, Mr. Suleyman; is

13   that correct?

14   A.   Yes.   I mean Mr. Suleyman Aslan in that section; that is

15   correct, ma'am.

16   Q.   And then you say:    "Long live photo shop," correct?

17   A.   That is correct, ma'am.

18   Q.   And your reference to "just get it printed;" do you see

19   that?

20   A.   Yes, ma'am, I see that.

21   Q.   Turning to what is in evidence as Government Exhibit 244,

22   please, T.    Do you remember this conversation?       We played this

23   one, I believe.

24   A.   I remember ma'am, yes.

25   Q.   Now, if you look at the bottom of page 2, Mr. Happani is


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1    telling you, we have their six million and change in Turkish

2    Lira and we have nothing else in the moment; do you see that?

3    A.   Yes, ma'am, I see that.

4    Q.   And then if you go over to page 3, you ask Mr. Happani, on

5    April 16th, 2013:    "Have you received the customs documents?"

6    Do you see that?

7    A.   Yes, ma'am, I see that.

8    Q.   And Mr. Happani says:     "Yes, the documents arrived, but I

9    haven't had a chance to do anything with it yet"?

10   A.   Yes, ma'am, I see that.

11   Q.   A little farther down, you instruct Mr. Happani to have

12   someone make ten copies of what you sent to the office and put

13   them in the safe, it's very important, correct?

14   A.   So that is not the entire sentence there.        The sentence

15   that was mentioned by madam is not complete.         What I'm saying

16   in that section, in that sentence, is that of the documents

17   that I sent to the office, make ten copies, put them in the

18   safe, this is very important, and if they get misplaced, our

19   business stops, and also send it as-is for translation, as-is.

20   That's what I was saying.

21   Q.   Were these -- was this document the certified copy of a

22   document from Iran that only your company could get?          Is that

23   what you're referencing here that you wanted copies of?

24   A.   Yes.   We had obtained a document from Iran in order to be

25   able to stop our competitors, and this is that document that


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1    I'm talking about here, ma'am.

2    Q.   We'll get to that probably tomorrow, but one of your

3    competitors was somebody named -- forgive me for my

4    pronunciation -- Mr. Alacaci?

5    A.   Mr. Ahmet Alacaci, that is correct, ma'am.

6    Q.   And then a little later you say:      "Oh, and I wanted to ask

7    if the customs paperwork had arrived from Dubai;" is that

8    right?

9    A.   Yes, ma'am, I see that.

10   Q.   Mr. Happani tells you that you're still waiting for those

11   documents, correct?

12   A.   Yes, that is correct, ma'am.

13   Q.   And these are the blank customs documents that you had

14   requested earlier, on April 9th and April 10th, correct?

15   A.   Yes; that is correct, ma'am.

16   Q.   I'd like to pull up 6T and then play Defense Exhibit 6,

17   please, which we've agreed to put in subject to connection.

18             (Audiotape played)

19             Mr. Zarrab, is that you on the conversation on

20   April 17th, 2013, at 5:15 p.m.?

21   A.   It is myself and my uncle who are the participants in this

22   phone conversation, and the date and the time of this

23   conversation as shown on the document provided to me here is

24   April 17th and 5:15, ma'am.

25   Q.   This conversation is actually in Azerbaijani instead of


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1    Turkish, correct?

2    A.    That is a different dialect; that is correct, ma'am.

3    Q.    The reference that your uncle says to, it is a difficult

4    job here, they are not giving it, do you know why?         And then

5    down below he says:     "I want a colored photocopy of it,

6    colored."    To what is your uncle referencing?

7    A.    Ma'am, if we were to go back to the other conversations

8    regarding my request from Serdar, I'm saying that he should get

9    them to my uncle, and my uncle was in Dubai during that time

10   frame also.    But since they're not going to the customs

11   building in Kor that I had told him, that is why they are

12   unable to obtain this document.       In other words, they had gone

13   to the wrong customs building, and that's why they're unable to

14   get this document.

15   Q.    And you're talking about he's trying to obtain for you

16   customs documents from Dubai; is that correct?

17   A.    It's the bill of lading, ma'am, that's what I'm referring

18   to.

19   Q.    So he's trying to obtain for you bills of lading that are

20   blank that you can fill out and use for your business?

21   A.    They're referring to the documents that I've been shown by

22   the prosecution earlier, ma'am.

23   Q.    And this conversation, where you asked your uncle to get

24   involved, is as of April 17th, 2013, correct?

25   A.    Based on this document that is shown to me, that's what it


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1    is.    I don't personally recall what the date was, ma'am.

2    Q.    Do you remember if you were in Dubai at about that time,

3    when your uncle was looking for these documents?

4    A.    What I remember is this, ma'am, since they were not able to

5    go to the correct place and get these documents in Dubai, I

6    ended up going to Dubai myself and went to the right place and

7    got these documents myself.

8    Q.    And do you remember if you went to Dubai in that time

9    frame, in that April time frame?

10   A.    I don't remember exactly, but that could be.

11              MS. FLEMING:   Could we pull up and play, please, play

12   Defendant's Exhibit 8, which is being admitted subject to --

13   and pull up transcript 8-T.

14              (Audiotape played)

15              Could we pull up, please, Government Exhibit 1002-T

16   and go to page 19.     I'm sorry, Page 20.     The wrong page.

17   A.    If I may please request that the Turkish version is also

18   placed on the screen?

19   Q.    And for the Turkish version, we're going to look for the

20   entry that is April 16, 2013, at 14:12:33.

21              And if we look in the English, do you see that it says

22   that you have landed in Dubai and will return tomorrow night?

23   A.    Yes, I see that, ma'am.

24   Q.    So you are in Dubai on April 16th and returning on the

25   night of April 17th, correct?


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1    A.   It shows that I have gone to Dubai on 16th of April, but as

2    to the return date, there is nothing specific here, and I don't

3    recall when I had returned from Dubai either.

4    Q.   Do you see the reference, "I will return tomorrow night"?

5    A.   Yes, ma'am, I see that, but I could have returned on the

6    same day, I could have returned a day late or I could have

7    returned earlier.    It could be that the plane had taken off at

8    a different or delayed time; so it would not be right for me to

9    give a certain date for that.

10   Q.   Do you have any recollection of meeting with Mr. Atilla on

11   April 16th or 17th?

12   A.   No, I don't remember anything like that, ma'am.

13             MS. FLEMING:    Could we pull up, please, Defendant's

14   Exhibit 9-T.

15             Are we going until 5:00 or 4:30?       I'll time it.

16             THE COURT:    4:30.

17             MS. FLEMING:    Can we pull up 9-T, and this is a call

18   on April 19th, 2013, at 12:32.

19             (Audiotape played)

20             Could we please pull back up both the English and the

21   Turkish versions of Government Exhibit 1002, and on the

22   English, I'd like you to go to page 21 and on the Turkish, it

23   will correspond to April 18th, 2013, at 11:00.

24   A.   If I may please have the reference for the row again,

25   please.


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1    Q.   It is for April 18, 2013, at 11:00.

2    A.   It came up now.    Thank you.

3    Q.   By the way, 11:00 is not actually 11:00 a.m. in Istanbul,

4    is it?    It's -- the time stamp reflected in these records has a

5    three-hour difference from the actual time; isn't that correct?

6    A.   I have no information with regards to that, ma'am.

7    Q.   Would you look at that April 18, 2013, and do you see that

8    you say:    "Have a good day, my dear general manager.        I

9    returned.    The translations are ready.      If you are available, I

10   would like to submit them tomorrow to you."        Do you see that?

11   A.   Yes, I see that, ma'am.

12   Q.   And Mr. Suleyman replies that:      "Of course.    I'll be

13   expecting you at 11," and he says:       "AA will also come."

14              AA is Ahmet Alacaci, isn't it?

15   A.   Yes, ma'am, that is Ahmet Alacaci.

16   Q.   And that is the person who is the competitor that

17   Mr. Suleyman is keeping out of competing with you in business,

18   correct?

19   A.   Yes, ma'am, that is correct.

20   Q.   Now, before we read the next sections, you go to Halkbank

21   on April 19th, 2013.     Does this refresh your recollection that

22   you're there on that date?

23   A.   Based on the conversations that are shown here, that's what

24   looks like to be the case, but I don't remember the exact date

25   myself.    But based on what I see here, that seems to be the


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1    case.

2    Q.   And did you have the specific conversation you talked

3    about, with Mr. Hakan Atilla at that meeting at Halkbank on

4    April 19th, 2013?

5                THE INTERPRETER:   Could you please repeat that

6    question?

7    Q.   Did you have a specific conversation where you say he told

8    you how to improve the process with Mr. Hakan Atilla at

9    Halkbank on April 19th, 2013?

10   A.   I did not understand the question very well.        Are you

11   referring to a meeting that was held on April 19th?

12   Q.   I'm asking -- you have told us about a meeting with you and

13   Mr. Suleyman Aslan and Mr. Atilla in which you say he told you

14   how to structure the process, your system?

15   A.   Yes.    As in his contributions and his additions to it, yes,

16   there was such a meeting.

17   Q.   Did that happen at Halkbank on April 19th, 2013, according

18   to you?

19   A.   I do not remember, ma'am.

20   Q.   Looking at Government Exhibit 1002 and starting with what's

21   reflected as the time at 10:25 on April 19th, 2013 -- I think I

22   misspoke.     April 13th -- sorry, April 19, 2013, 10:25; do you

23   see that?

24   A.   If you could please put up the Turkish version too.

25   Q.   That would help.


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1    A.   Yes, ma'am.

2    Q.   Would you read down for the next few lines, where it says:

3    "My dear general manager, we came face to face with AA at the

4    door."   That's Mr. Alacaci, right?

5    A.   Yes, ma'am, this is Ahmet Alacaci, that is correct, ma'am.

6    Q.   And if you read down, you can see that Mr. Suleyman tells

7    you --

8    A.   I'm unable to see it.     If it could be brought up on the

9    screen, please.

10              MS. FLEMING:   You have to do it in Turkish, please,

11   Mr. White.

12   Q.   If you read down, Mr. Suleyman tells you that he had

13   conversations with Mr. Alacaci telling him that basically you

14   brought appropriate documents, but his were insufficient,

15   correct?

16   A.   I'd like to request this one thing from the defense

17   counsel, please, as they bring up these messages, if they could

18   also please include who the sender was so that there's no

19   mixup.   I would request that.

20   Q.   It's a fair request.

21   A.   Thank you very much.    Okay.    Now, we can look at it.       Go

22   ahead, please.

23   Q.   And Mr. Suleyman is telling you that, in essence, he told

24   Mr. Alacaci that Mr. Alacaci's documents were insufficient,

25   yours were fine, correct?


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1    A.   Yes, ma'am, that is correct.

2    Q.   Now, do you remember specifically this meeting with

3    Mr. Alacaci and you at Halkbank?

4    A.   I did not have a meeting with Mr. Alacaci at the bank.         We

5    just came face to face.

6    Q.   Do you remember the coming face to face with him at the

7    bank that day?

8    A.   Yes, ma'am, I remember that.

9    Q.   So do you remember -- after meeting with him on that day,

10   do you remember having a meeting you've described with

11   Mr. Hakan Atilla, who described the system you've testified

12   about here?    Was it that day, following you seeing Mr. Alacaci

13   at Halkbank?

14   A.   As I had mentioned earlier, I do not recall that, ma'am.

15   Q.   If we go back to what we just looked at, 9-T -- well,

16   before we do that, do you remember anything about your meeting

17   with Mr. Suleyman at Halkbank on April 19th, 2013, after you

18   came face to face with Mr. Alacaci at the door on your way in?

19   A.   The only thing, the most important thing that I recall from

20   that date is that I had run into Mr. Alacaci because that one

21   had historical meaning for me.

22   Q.   When you look back at what we looked at as Government

23   Exhibit 1002, you had indicated that you had received

24   translations, and you would like to submit them tomorrow to

25   you; do you remember reading that a minute ago?


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1    A.   Yes, ma'am.   I remember that.

2    Q.   Do you remember submitting translations to Mr. Suleyman

3    Aslan on April 19th, 2013?

4    A.   I recall taking documents for Mr. Suleyman Aslan on that

5    day, ma'am.

6    Q.   Do you recall thinking documents?      I'm sorry?

7              THE INTERPRETER:     Taking.

8    Q.   Taking.   Do you remember giving them to him on that day?

9    A.   I remember, ma'am.

10             THE COURT:    Ms. Fleming, can I see you just for a

11   minute with counsel.

12             (Continued on next page)

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1              (At the side bar)

2              THE COURT:    Could I get an estimate of where this

3    is -- how long?

4              MS. FLEMING:    I guess I'm pretty close to finishing

5    April.

6              THE COURT:    Are you serious?

7              MS. FLEMING:    Yes.

8              THE COURT:    And then what?

9              MS. FLEMING:    I have July.

10             THE COURT:    How much time?

11             MS. FLEMING:    Probably until lunch tomorrow.       I have

12   July calls.    Judge, it will play out.

13             THE COURT:    So then you're going to want redirect?

14             MR. KAMARAJU:    Yes, but I can be pretty efficient with

15   that.

16             THE COURT:    I'm just trying to figure out the schedule

17   for the balance of this week.       Are you calling these government

18   witnesses this week; is that the plan?

19             MR. KAMARAJU:    Yes.

20             THE COURT:    They would come when, next?

21             MR. KAMARAJU:    There's one very short FBI witness.

22             THE COURT:    And then?

23             MR. KAMARAJU:    And then --

24             THE COURT:    How many are there of them?

25             MR. KAMARAJU:    Three.


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     HC6PATI6                   Zarrab - Cross

1              MR. DENTON:    Two who are substantive, and one is very

2    brief.

3              THE COURT:    I'm revisiting the motions in limine first

4    on this issue.    My gut reaction is that I would expand the

5    cross-examination, but that's just a gut reaction based on the

6    letter that was submitted today, but when you respond, I want

7    you to indicate what you think the implications are.

8              MR. ROCCO:    To the defense?

9              THE COURT:    Yes.

10             MR. ROCCO:    You bet.

11             THE COURT:    Yes.

12             MR. ROCCO:    You got it, Judge.

13             THE COURT:    So that's what I'm trying to -- I was

14   hoping to finish earlier so we could devote more time to this

15   issue, which seems to me to be more pressing than, forgive me,

16   asking him for the three or four hundredth time if he remembers

17   the date of the meeting.

18             MS. FLEMING:    Judge, I promise it will play out.

19   Judge, I promise it will play out.

20             THE COURT:    Okay.   I'm sure.   Okay.    So we'll go to

21   4:30.

22             MR. ROCCO:    Thank you, Judge.

23             MS. FLEMING:    And I'm almost done with April; so when

24   I finish, that will be good.

25             THE COURT: Okay.
               (Continued on next page)

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1               (In open court)

2               THE COURT:    Okay.   We're going to take a two-minute

3    break.

4               (Jury not present)

5               THE COURT:    So we're going to take a two-minute break.

6               (Recess)

7               (Jury present)

8               THE COURT:    Okay.   Please be seated.    We're just going

9    to go about five more minutes.        We're going to end at 4:30 this

10   evening.

11              MS. FLEMING:    Your Honor, may I proceed?

12              THE COURT:    Yes, sure.

13              THE DEPUTY CLERK:     You're still under oath, sir.

14              THE WITNESS:    (In English)    Yes.

15   BY MS. FLEMING:

16   Q.   I would just like to finish up on the conversation 9-T.

17   A.   Yes, ma'am.

18   Q.   All right.    Can we go back to 9-T, please.      I just want to

19   finish up quickly.      This is the call on April 19th, after you

20   had seen Mr. Alacaci?

21   A.   Yes, that's correct, ma'am.

22   Q.   And you tell Mr. Happani when you come back:        "Abdullah, I

23   swear I forgot to talk about the invoice"?

24   A.   Just to make sure that there's no misunderstanding, this is

25   not that I'm not coming anywhere.        This is on the phone, and


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     HC6PATI6                   Zarrab - Cross

1    I'm talking to Mr. Abdullah.

2    Q.   "I swear I forgot to talk about the invoice"?

3    A.   Yes, ma'am.

4    Q.   You testified at the end of -- that after you had been

5    arrested and then you were released -- withdrawn.         Bad

6    question, sorry.

7               You were arrested in Turkey in December of 2013,

8    correct?

9    A.   Yes, ma'am; that is correct.

10   Q.   And you were in jail in Turkey for several months; isn't

11   that correct?

12   A.   I was in jail for 76 days, ma'am; that's correct.

13   Q.   And when you came out, after some period of time, the

14   charges against you were dismissed?

15   A.   It is true that, for all involved in that investigation,

16   that there was a decree to drop the charges; that is correct,

17   ma'am.

18   Q.   And after that decree from the courts, it was very highly

19   publicized that that decree had come out and that you had been

20   exonerated, correct?

21   A.   On the TV and the press there was much news mentioned about

22   the charges being dismissed; that is correct, ma'am.

23   Q.   And, in fact, you did a TV interview of some length about

24   the process and answered questions on television, correct?

25   A.   If I recall correctly, that interview had happened prior to


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1    the decree of dismissal, ma'am.

2    Q.   But it was after you were released from jail, correct, in

3    Turkey?

4    A.   That is absolutely correct, ma'am, yes.

5    Q.   And you issued a press release indicating that you were not

6    guilty of any of these charges, correct?

7    A.   I don't recall me covering anything in any of my sentences

8    that I -- statements that I may have made, but I do recall that

9    I made statements about the gold trade, and to that effect too,

10   yes, ma'am.    Excuse me.   About gold smuggling accusations that

11   were against me, I remember making statements about that,

12   ma'am.

13   Q.   And to be clear, you said the accusations against you were

14   false?

15   A.   I did say that those accusations about gold smuggling were

16   false; that is correct, ma'am.

17   Q.   And, again, very widely publicized throughout Turkey,

18   correct?

19   A.   That is correct.    They were publicized, ma'am.

20   Q.   Now, you returned to Halkbank, and you want to be a

21   customer at the bank, correct?

22   A.   I was already a customer at Halkbank, ma'am.

23   Q.   And you wanted to resume the business is what you testified

24   to two days ago, correct?

25   A.   That is absolutely correct; yes, ma'am.


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1    Q.   And in response to the prosecutor's questions, you said,

2    well, Mr. Suleyman Aslan was gone at that point, correct?

3    A.   Yes, that is absolutely correct, ma'am.

4    Q.   And Mr. Levent Balkan was gone at that point, correct?

5    A.   Yes --

6    Q.   So you approached --

7    A.   -- Mr. Levent Balkan was not at Halkbank as of that time

8    either, ma'am, that is correct.

9              (Continued on next page)

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     HC63ATI7                   Zarrab - Cross

1    Q.   So you approached Ali Fuat at Halkbank to see if you could

2    pick up the business again, correct?

3    A.   I had a conversation with Mr. Ali Fuat, but prior to

4    conversing with Mr. Ali Fuat, I had made another attempt,

5    ma'am.

6    Q.   But you didn't reach out and go to Mr. Hakan Atilla, who

7    you said was instrumental in designing your scheme, correct?

8    A.   I went to individuals that were much higher than Mr. Hakan

9    Atilla, ma'am.

10             MS. FLEMING:    Judge, I think this is an appropriate

11   time to break, if it's okay with the Court.

12             THE COURT:    It is.   We are going to stop for today.

13   Here's what I'd like to do.      I'm going to give you my

14   instructions in a moment.      But it's my understanding that all

15   or some of you have interest in taking some time to review your

16   notes.   Is that correct?

17             A JUROR:   Yes.

18             THE COURT:    So my proposal is that you do that

19   tomorrow morning.    So when you come, 9:30, Christine will have

20   your notes in the jury room.

21             Now, you can't deliberate, right.       Because that's

22   going to be one of the instructions that I give.         And also,

23   remember that notes are not evidence.       The notes are solely for

24   the purpose of refreshing your own recollection of what you

25   perceive the evidence to be.


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     HC63ATI7

1              So with that, let me give you my instructions and

2    we'll adjourn until tomorrow.      First, please do not talk with

3    each other about this case or about anyone who has anything to

4    do with it, until the end of the case, when you go to the jury

5    room to decide or deliberate on your verdict.

6              When you review your notes, that's not to be

7    deliberation.    You understand that.

8              Second, do not talk with anyone else about this case

9    or about anyone who has anything to do with it, until the trial

10   has ended, and you have been discharged as jurors.

11             Third, do not let anyone talk to you about the case,

12   or about anyone who has anything to do with it, and if someone

13   should try and talk to you about the case, please report that

14   to Christine or me immediately.

15             Fourth, do not read any news or internet stories or

16   articles or blogs or listen to any radio or television or cable

17   television or internet reports about the case or about anyone

18   who has anything to do with the case.

19             And fifth, please do not do any type of research or

20   any type of investigation about the case on your own.

21             So, good day.    And we'll see you at 9:30 tomorrow.

22             (Jury excused)

23             (Continued on next page)

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     HC63ATI7

1              THE COURT:    I'm going to give you each 10 minutes

2    thereabouts tomorrow for oral argument on the issues raised in

3    the government's letter.     And Mr. Rocco, when are we going to

4    get your response to that letter?

5              MR. ROCCO:    As quickly as --

6              THE COURT:    I know, but I'm trying --

7              MR. ROCCO:    Hopefully by 8 or 9 o'clock the latest,

8    your Honor.

9              THE COURT:    Okay.    Fair enough.   And Mr. Anello, does

10   he have a copy also?

11             MR. KAMARAJU:    No, but we can give him one.

12             THE COURT:    You should share a copy with him too.

13             MR. DENTON:    Just one thing briefly, we wanted to make

14   a record about the transcripts that were shown to the jury

15   today in connection with the defense exhibits.         The transcripts

16   and translations of the recordings marked as defense exhibits.

17             THE COURT:    Right.

18             MR. DENTON:    Those transcripts and translations were

19   first provided to the government late last night.         I think

20   after the end of the court day.       It is not something we'd ever

21   seen before, so this is not a situation like government

22   exhibits that are marked out of discovery.        We saw those for

23   the first time.    We did not have a chance to have someone

24   review them, so they include things like footnotes with

25   interpretations.


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1              THE COURT:    I noticed it had footnotes.

2              MR. DENTON:    We did not want to object because we did

3    not want to run the risk of making this even more

4    incomprehensible to the jury without having some sort of

5    document to read.    But this is part and parcel of something we

6    noted on Friday, which is we have received no discovery and no

7    expert report of any kind from the defense.

8              We're happy to go along to get along to a certain

9    point, but I think we're getting to the point where, when we're

10   seeing things for the first time the night before, we're going

11   to start objecting to their introduction the next day.

12             THE COURT:    Fair enough.    See you tomorrow.

13             (Adjourned until December 7, 2017, at 9 a.m.)

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